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                        EXHIBIT D
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        10           Schwarzenegger, Genest, and Tilton
        11                                        IN THE UNITED STATES DISTRICT COURT
        12                                     FOR THE EASTERN DISTRICT OF CALIFORNIA
        13                                    AND THE NORTHERN DISTRICT OF CALIFORNIA
       14                       UNITED STATES DISTRICT COURT COMPOSED OF THREE JUDGES
       15                        PURSUANT TO SECTION 2284, TITLE 28 UNITED STATES CODE
       16
                     RALPH      COLEMAN, et al.,                                      90-0520 LKK JFM
       17
                                                                        Plaintiffs,   THREE-JUDGE COURT
    18                                   Vo

   19                ARNOLD       SCHWARZENEGGER, et al.,
   20                                                                 Defendants.
  21
                     MARCIANO PLATA,                  et al.,                         C-01-1351 TEH
   22
                                                                       Plaintiffs,    THREE-JUDGE COURT
   23
                                    VQ
  24                                                                                  DEFENDANTS' RESPONSES TO
                     ARNOLD      SCHWARZENEGGER, et al.,                              PLAINTIFFS' FIRST SET OF
  25                                                                                  REQUESTS FOR PRODUCTION
                                                                     Defendants.      OF DOCUMENTS
  26
  27
  28
                 Defs. Resp..to Pls.                                                   Coleman v. Schwarzenegger, Case No. 90-0520
                 Req. for Produc. of Does., Set One                                        Plata v. Schwarzenegger, Case No. 01-1351
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                 1      PROPOUNDING PARTY: Marciano Plata, et al., Plaintiffs
                 2     RESPONDING PARTY:                   Arnold Schwarzenegger, et al., Defendants
                 3     SET NO.:                            One
             4
             5                                                       DEFINITIONS
             6                  In construing these discovery responses, the following definitions shall apply:
             7                1) "PLAINTIFFS" shall mean class representatives Marciano Plata (sic), et al. the named
             8         plaintiffs in the actionPlata v. Schwarzenegger, Case No. C-01-13.51 TEH (N.D. Cal.) (Plata)
             9         and class representatives Ralph Coleman, et al., the named plaintiffs in the action Coleman
                                                                                                                               v.
        10            Schwarzenegger, Case No. 90-0520 LKK JFM (E.D. Cal.) (Coleman).
        11                     2)    "DEFENDANTS" shall mean Amold Schwarzenegger, Michael Genest, and James
        12            Tilton the named defendants in Plata and Arnold Schwarzenegger, Michael Genest, James
                                                                                                                              Tilton
        13            and Stephen Mayberg the named defendants in Coleman.
        14                 3)       "PROCEEDING" shall mean the three-judge panel proceeding convened under-28
       15             U.S.C. Section 2284 in the cases of Coleman and Plata.
       16
       17                                                    GENERAL OBJECTIONS
    18                     1.       DEFENDANTS        object that the discovery was propounded prematurely and violates
    19               Federal Rule of Civil Procedure 26. PLAINTIFFS propounded this discovery prior the
                                                                                                   to   initial
   20                hearing in the PROCEEDING, which took place on September 24, 2007. Additionally,
   21                PLAINTIFFS failed to meet and confer with DEFENDANTS                as   required by Federal Rule of
   22                Civil Procedure 26.
   23                     2.        DEFENDANTS        object that the discovery is impermissibly propounded by "Marciano.
   24                Plata, et al., Plaintiffs". Under Federal Rules of Civil Procedure 34, PLAINTIFFS must identify
   25                with specificity the "party" that is propounding discovery.
                                                                             Additionally, the coordinated nature
   26                of the PROCEEDING makes the discovery unduly confusing and ambiguous. DEFENDANTS
  27                 were unsure whether the discovery was propounded in Coleman
                                                                                   or Plata. Consequently,

  28             DEFENDANTS              met   and conferred with PLAINTIFFS in good faith and PLAINTIFFS
                 Defs.' Resp. to Pls.'                                              Coleman v. Schwarzenegger, Case No. 90-0520
                 Req. for Produc. of Docs., Set One                                     Plata v. Schwarzenegger, Case No. 01-I 351
                                                                         2
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             acknowledged that the discovery requests were ambiguous and informed DEFENDANTS that
          2 the discovery requests should be interpreted to apply to both Coleman and Plata.

         .3         3.  DEFENDANTS object that the discovery is impermissibly propounded to "Arnold
          4 Schwarzenegger, et al., Defendants". Under Federal Rules of Civil Procedure 34, PLAINTIFFS

          5 must identify with specificity which "party" discovery is propounded to.
         6         4. DEFENDANTS object that the discovery seeks DOCUMENTS that
                                                                                          are neither
         7 relevant PLAINTIFFS' claims in this PROCEEDING nor reasonably calculated to lead
                                                                                                    to the
         8 discovery of admissible evidence. PLAINTIFFS have refused to identify what if
                                                                                             any claims they
        9 will be asserting in the PROCEEDING. Consequently, DEFENDANTS object the discovery
      I0 requires DEFENDANTS to speculate what claims may or may not be asserted by PLAINTIFFS.
      11          5. DEFENDANTS object that the requests are seek information equally available
                                                                                                      to
      12 PLAINTIFFS overbroad and unduly burdensome. In accordance With the Coleman and Plata
     13 remedial orders, PLAINTIFFS receive a monthly document productions and other discovery
     14 from DEFENDANTS and the Receiver appointed in Plata.
     15          6. DEFENDANTS object that the discovery is unduly burdensome to the extent it
     I6 requires DEFENDANTS to produce source codes, meta-data, and data in DII format.
                                                                                     a

    17 DEFENDANTS will produce any relevant, non-privileged DOCUMENTS in native files
                                                                                                     or a
    18 DAT Opticon format.
    19          7.     DEFENDANTS object that the discovery is unduly burdensome and 0verbroad to the
   20    extent it requires DEFENDANTS to obtain electronic and paper documents from           potentially
   21    hundreds of individuals. DEFENDANTS have identified
                                                             a core group of individuals that are

   22    likely to possess information most relevant to PLAINTIFFS' requests. Consequently,
   23   DEFENDANTS have obtained reasonably accessible electronic and paper documents from these
   24   individuals only and will not be subsequently expanding this search. The reasonably accessible
   25   electronic and paper documents obtained by DEFENDANTS do not include information
   26   contained On backup tapes or legacy data contained on systems that  longer utilized.
                                                                              are no

   27       8. DEFENDANTS object to the date and place of production specified in the discovery.
  28    DEFENDANTS will produce any non-privileged, responsive DOCUMENTS at the California
        Defs.' Resp. to Pls.'                                      Coleman v. Schwarzenegger, Case No. 90-0520
        Req. for Produc. of Docg., Set One                             Plata v. Sehwarzenegger, Case No. 01-1351
                                                        3
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                 1      Attorney General's Office located at 455 Golden Gate Avenue in San Francisco, California.
                 2      Additionally, any production shall be in accordance with a rolling production schedule agreed to
             3          by the parties and/or ordered by the Court.
             4               9. DEFENDANTS object that the discovery seeks DOCUMENTS outside of
             5          DEFENDANTS' custody and control. To the extent the discovery seeks information within the
             6         custody and control of the Receiver appointed in Plata, PLAINTIFFS should direct said
             7         discovery to the Receiver and not DEFENDANTS.
             8
             9                                             DEFENDANTS' RESPONSES
        l0             REQUEST FOR PRODUCTION NO. 1
        11                   Any and all DOCUMENTS created during the RELEVANT TIME PERIOD that REFER or
        12             RELATE TO the implementation of AB 900, INCLUDING but not limited to the PRISONS'
        13             capacity for traffic, sewage, water, power and other infrastructure, the presence of valley fever at
    14                 or in the vicinity of the PRISONS, and staffing levels at PRISONS.

    15                RESPONSE TO REQUEST FOR PRODUCTION NO. 1:
    16                       DEFENDANTS        object that the request seeks DOCUMENTS protected from disclosure by
    17                the attorney-client privilege, a•orney work product privilege, deliberative
                                                                                                  process privilege, self-
    18                critical analysis privilege, and official information privilege. DEFENDANTS object that the
    19                request seeks DOCUMENTS that infringe on the privacy rights of third parties. DEFENDANTS
   20                 object that the inclusion of the phrase "including but not limited to" renders the request
   21                 ambiguous, overbroad, and unduly burdensome as PLAINTIFFS have not defined the parameters
   22                 of the request. DEFENDANTS also object to disclosing detailed information regarding the
   23                 architectural specifications, renderings, blueprints, infrastructure layout, building footprints,
   24                points of access, and construction design details because release of this information could
   25                jeopardize the safety of inmates, custody staff, and/or the public. DEFENDANTS object that the
   26                RELEVANT TIME PERIOD and AB 900 are inconsistent and confusing. As defined by
   27                PLAINTIFFS, AB 900 "means the Public Safety and Offender Rehabilitation Services Act of
   28                2007, signed into law by Governor Arnold Schwarzenegger on May 2, 2007." (Req. for
                     Defs.' Resp. to Pls.'                                        Coleman v. Schwarzenegger, Case No. 90-0520
                     Req. for Produc. of Does., Set One                               Plata v. Schwarzenegger, Case No. 01-1351
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                 1      Production 5:1-2.) RELEVANT TIME PERIOD, however, is defined by PLAINTIFFS                            "the
                                                                                                                         as
                 2      time period from April 4, 2006... until the present."   (Req. for Production 4:12-14.) To resolve..
                 3      this inconsistency, DEFENDANTS      interpret RELEVANT TIME PERIOD for the purposes of
             4         this request to mean the time period from May 2, 2007 to the present.
             5               Subject to and without waiving the foregoing objections, DEFENDANTS respond as
             6         follows:
             7              DEFENDANTS          state that PLAINTIFFS are already in possession of DEFENDANTS'                filed
             8         plans for the provision of mental health beds and their plans for staffing those mental health beds
             9         in the Coleman case.    (See Def. Am. Long-Range Bed Plan, filed 12/19/06; Def. Supplement Bed
        10             Plan, filed 8/17/07.) DEFENDANTS assert the deliberative process privilege to all drafts of
        11             those Coleman plans, all drafts ofany budget proposals to fund those plans, and inter- and intra-
        12            Defendant emails concerning those plans.
        13                  DEFENDANTS will, in accordance with the rolling production described above, produce
       14             all other responsive, non-privileged DOCUMENTS from the
                                                                              core group of individuals generated

       15             in the RELEVANT TIME PERIOD           as   understood by DEFENDANTS               the subject of
                                                                                                  on
       16             PRISONS'     capacity for traffic, sewage, water, power, and other infrastructure, the presence of
    17               valley fever, and prison staffing levels to the extent these issues relate to the implementation of
    18               AB 900, which in DEFENDANTS' estimation will not jeopardize the safety of inmates,
                                                                                                                   custody
    19               staff, and/or the public. Those responsive, nonprivileged documents include the accompanying
   20                production of certain documents from the Department of Finance Coates numbered DOF000001-
   21                DOF003655).
   22

   23                REQUEST FOR PRODUCTION NO. ?,:
   24                     Any and all DOCUMENTS created during the RELEVANT TIME PERIOD that REFER
                                                                                                                               or
   25                RELATE TO any projected change in California's PRISON population.
   26                RESPONSE TO REQUEST FOR PRODUCTION NO. 2:
  27                      DEFENDANTS object that the request seeks DOCUMENTS protected from disclosure by
  28                 the attorney-client privilege, attorney work product privilege, deliberative
                                                                                                       process privilege, self-
                 Defs.' Resp. to Pls.'                                            Coleman v. Schwarzenegger,   Case No. 90-0520
                 Req. for Produc. of Docsl, Set One                                   Plata v. Schwarzenegger, Case No. 01-1351
                                                                       5
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                     1     critical analysis privilege, and official information privilege. DEFENDANTS       object that the
                 2         inclusion of the phrase "any projected change" renders the request ambiguous, overbroad, and
                 3         unduly burdensome as PLAINTIFFS have not defined the parameters of the request.
                 4         DEFENDANTS object that population projections are equally available to PLAINTIFFS because
             5             these figures are released to the public on a biannual basis by the California Department of
             6             Corrections and Rehabilitation (CDCR) and are published on CDCR's website. OMIT:
             7             DEFENDANTS object to this request as seeking records equally available and indeed already
             8            provided to PLAINTIFFS, including and not limited to (1) the overall population projections
             9            released to the public and published on the CDCR web site and (2) DEFENDANTS' filed
                                                                                                                plans
        10                for the provision of mental health beds and the accompanying mental health population
        11                projections provided by John Misener of Navigant in accord with the Coleman court order dated
        12                September 11,2006. (See, Def. Supplemental Bed Plan, filed 8/17/07 in Coleman.) Said
       13                 documents will not be re-produced.
       14                      Subject to and without waiving the foregoing objections, DEFENDANTS respond
                                                                                                                         as
       15                 follows:
       16                      DEFENDANTS will, in accordance with the rolling production described above, produce
       17                all •ther responsive, non-privileged DOCUMENTS from the
                                                                                 core group of individuals that are
       18                otherwise unavailable to PLAINTIFFS on the subject of projected population changes in
   19                    California's PRISON population during the RELEVANT TIME PERIOD.
   20

   21                    REQUEST FOR PRODUCTION NO. 3:
   22                         Any and all DOCUMENTS created during the RELEVANT TIME PERIOD that REFER
                                                                                                                               or
   23                    RELATE TO the DEPARTMENT'S choice of the ten prisons identified
                                                                                         as sites for the
  24                     construction of up to 7,484 additional prison beds under § 15819.40(a)(1)(A) of AB       900,
  25                 INCLUDING site surveys and Environmental Impact Reports.
  26                 RESPONSE TO REQUEST FOR PRODUCTION NO. 3:
  27                         DEFENDANTS object that the request seeks DOCUMENTS protected from disclosure by
  28             the attorney-client privilege, attorney work product privilege, deliberative
                                                                                                     process privilege, selt'-
                 Defs.' Resp. to Pls.'                                             Coleman v. Schwarzenegger, Case No, 90-0520
                 Req. for Produc. of Docs., Set One                                    Plata v. Schwarzenegger, Case No. 01-1351
                                                                        6
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                 1      critical analysis privilege, and official information privilege. DEFENDANTS            object that the
                 2      request seeks DOCUMENTS that infringe on the privacy rights of third parties.
                 3      DEFENDANTS object that the inclusion of the defined word "INCLUDING" renders the request
             4          ambiguous, overbroad, and unduly burdensome as PLAINTIFFS have not defined the parameters
             5          of the request. DEFENDANTS also object to disclosing detailed information regarding the
             6          architectural specifications, renderings, blueprints, infrastructure layout, building footprints,
             7         points of access, and construction design details because release of this information could
             8         jeopardize the safety of inmates, custody staff, and/or the public. DEFENDANTS object that the
             9         request is ambiguous and confusing because while the text of AB 900 references certain sections
        10             of the California Government Code, AB 900 does not contain a section 15819.40(a)(1)(A).
        11             DEFENDANTS       object that the RELEVANT TIME PERIOD and AB 900 are inconsistent and
        12             confusing. As defined by PLAINTIFFS, AB 900 "means the Public Safety and Offender
        13            Rehabilitation Services Act of 2007, signed into law by Governor Arnold Schwarzenegger
                                                                                                             on
       1.4            May 2, 2007." (Req. for Production 5:1-2.) RELEVANT TIME PERIOD, however, is defined
       15             by PLAINTIFFS as "the time period from April 4, 2006... until the present." (Req. for.
    16                Production 4:12-14.) To resolve this inconsistency, DEFENDANTS interpret RELEVANT
    17                TIME PERIOD for the purposes of this request to mean the time period from May 2, 2007 to the
    18                present.
    19                      Subject to and without waiving the foregoing objections, DEFENDANTS respond as
                                                                                                                                    .?
   20                 follows:
   21                       DEFENDANTS will, in accordance with the rolling production described above, produce
   22                 all responsive, non-privileged DOCUMENTS from the core group of individuals generated in the
   23                RELEVANT TIME PERIOD                 as   understood by DEFENDANTS     on   the Subject of CDCR's
   24                planned construction of up to 7,484 additional prison beds under the rubric of AB 900, which in
   25                DEFENDANTS' estimation will not jeopardizethe safety of inmates, custody staff, and/or the
   26                public.
  27
  28

                     Defs.' Resp. to Pls.'                                          Coleman v. Schwarzenegger, Case No. 90-0520
                     Req. for Produc. of Docs., Set One                                 Plata v. Schwarzenegger, Case No. 01-1351
                                                                          7
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                 1     REQUEST FOR PRODUCTION NO. a:
                 2           Any and all DOCUMENTS created during the RELEVANT TIME PERIOD that REFER
                                                                                                                                    or
                 3     RELATE TO any COMMUNICATIONS                  regarding the DEPARTMENT'S choice of the ten
             4         prisons identified as sites for the construction of up to 7,•184 additional prison beds under §
             5         15819.40(a)(1)(A) of AB 900, INCLUDING any such COMMUNICATIONS from or to
                                                                                                                     any
             6         local community group and/or local government officials.
             7         RESPONSE TO REQUEST FOR PRODUCTION NO. 4:
             8            DEFENDANTS object that the request seeks DOCUMENTS protected from disclosure by
             9        the attorney-client privilege, attorney work product privilege, deliberative
                                                                                                         process privilege, self-
        10            critical analysis privilege, and official information privilege. DEFENDANTS             object that the
        ll            request seeks DOCUMENTS that infringe on the privacy rights of third parties. DEFENDANTS
        12            object that the inclusion of the defined word "INCLUDING" renders the request ambiguous,
       13             overbroad, and unduly burdensome as PLAINTIFFS have not defined the parameters of the
       14             request. DEFENDANTS also object to disclosing detailed information regarding the
       15             architectural specifications, renderings, blueprints, infrastructure layout, building footprints,
       16            points of access, and construction design details because release of this information could
    17               jeopardize the safety of inmates, custody staff, and/or the public. DEFENDANTS object that the
    18               request is ambiguous and confusing because while the text of AB 900 references certain sections
   19                of the California Government Code, AB 900 does not contain              section 15819.40(a)(1)(A).
                                                                                         a

   20                DEFENDANTS      object that the RELEVANT TIME PERIOD and AB 900 are inconsistent and
   21                confusing. As defined by PLAINTIFFS, AB 900 "means the Public Safety and Offender
   22                Rehabilitation Services Act of 2007, signed into law by Governor Arnold Schwarzenegger
                                                                                                                           on
   23                May 2, 2007." (Req. for Production 5:1-2.) RELEVANT TIME PERIOD, however, is defined
  24                    PLAINTIFFS       as   "the time period from April 4, 2006... until the present."     (Req. for
  25                 Production 4:12-14.) To resolve this inconsistency, DEFENDANTS interpret RELEVANT
  26             TIME PERIOD for the purposes of this request to mean the time period from May
                                                                                                 2, 2007 to the
  27             present. DEFENDANTS object to this request as redundant and therefore unduly burdensome
  28             because Request for Production No. 3 seeks "any and all DOCUMENTS" that refer relate
                                                                                                   or      to
                 Defs.' Resp. to Pls.'                                              Coleman v. Schwarzenegger, Case No. 90-0520
                 Req. for Produc. of Does., Set One                                     Plata v. Schwarzenegger, Case No. 01-1351
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                  1     CDCR's consideration of possible sites for the construction of upto 7,484 additional prison beds
                  2     under the rubric of AB 900.    Consequently, DEFENDANTS' response to Request for Production
                 3      No. 3 already encompasses the requested category of DOCUMENTS.
              4

              5        REQUEST FOR PRODUCTION NO. 5:
              6             Any and all DOCUMENTS created during the RELEVANT TIME PERIOD that REFER
                                                                                                     or
              7        RELATE TO any TIMETABLE for the construction of up to 7,484 additional prison beds under
              8        § 15819.40(a)(1)(A) of AB 900, INCLUD/NG any DOCUMENTS RELATING TO the
             9         DEPARTMENT'S progress in meeting such a TIMETABLE.
         10            RESPONSE TO REQUEST FOR PRODUCTION NO. 5:
         11                 DEFENDANTS object that the request seeks DOCUMENTS protected from disclosure by
        12             the attorney-client privilege, attorney work product privilege, deliberative
                                                                                                        process privilege, self-
        13             critical analysis privilege, and official information privilege. DEFENDANTS           object that the
        14            request seeks DOCUMENTS that infringe on the privacy rights of third parties. DEFENDANTS
        15            object that tl•e inclusion of the defined word "INCLUDING" renders the request ambiguous,
     16               overbroad, and unduly burdensome as PLAINTIFFS have not defined the parameters of the
     17               request. DEFENDANTS also object to disclosing detailed information regarding the
     18               architectural specifications, renderings, blueprints, infrastructure layout, building footprints,
    19                points of access, and construction design details because release of this information could
    20                jeopardize the safety of inmates, custody staff, and/or the public. DEFENDANTS object that the
    21                request is ambiguous and confusing because while the text of AB 900 references certain sections
    22                of the California Government Code, AB 900 does not contain                    15819.40(a)(1)(A).
                                                                                        a section

    23                DEFENDANTS       object that the RELEVANT TIME PERIOD and AB 900 are inconsistent and
   24                 confusing. As defined by PLAINTIFFS, AB 900 "means the Public Safety and Offender
   25                Rehabilitation Services Act of 2007, signed into law by Governor Arnold Schwarzenegger
                                                                                                            on
   26                May 2, 2007." (Req. for Production 5:1-2.) RELEVANT TIME PERIOD, however, is defined
   27                by PLAINTIFFS as "the time period from April 4, 2006... until the present." (Req. for
   28                Production 4:12-14.) To resolve this inconsistency, DEFENDANTS interpret RELEVANT
                  Defs.' Resp. to Pls.'                                            Coleman v. Schwarzenegger, Case No. 90-0520
                  Req. for Produc. of Does., Set One                                   Plata v. Schwarzenegger. Case No. 01-1351
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                        TIME PERIOD for the purposes of this request to mean the time period from May 2, 2007 to the
                 2      present.
                 3           Subject to and without waiving the foregoing objections, DEFENDANTS respond as
             4         follows:
             5               DEFENDANTS          will, in accordance with the rolling production described above, produce
             6         all responsive, non-privileged DOCUMENTS from the core group of individuals generated in the
             7         RELEVANT TIME PERIOD              as   understood by DEFENDANTS       on   the subject of timetables for
             8         CDCR's planned construrtion of up to 7,484 additional prison beds under the rubric of AB 900,
             9         which in DEFENDANTS' estimation will not jeopardize the safety of inmates, custody staff,
        10             and/or the public.
        11
        12            REQUEST FOR PRODUCTION NO. 6:
        13                  Any and all DOCUMENTS created during the RELEVANT TIME PERIOD that REFER or
     14               RELATE TO the DEPARTMENT'S consideration of the possible sites for the construction of
                                                                                                             up
    15                to 4,516     prison beds under § 15819.40(a)(1)(B) of AB 900.
    16                RESPONSE TO REQUEST FOR PRODUCTION NO. 6:
    17                           object that the request seeks DOCUMENTS protected froth disclosure by
                            DEFENDANTS
                                                                                                                                   ...
     18 the attorney-client privilege, attorney work product privilege, deliberative process privilege, self•

     19 critical analysis privilege, and official information privilege. DEFENDANTS object that the
    20 request seeks DOCUMENTS that infringe on the privacy fights of third parties. DEFENDANTS
    21 object that the inclusion of the phrase "consideration of possible sites" renders the request

    22 ambiguous, overbroad, and unduly burdensome as PLAINTIFFS have not defined the parameters

   23 of the request. DEFENDANTS also object to disclosing detailed information regarding the
   24 architectural specifications, renderings, blueprints, infrastructure layout, building footprints,

   25 points of access, and construction design details because release of this information could

   26 jeopardize the safety of inmates, custody staff, and/or the public. DEFENDANTS object that the
   27 request is ambiguous and confusing because while the text of AB 900 references certain sections
   28                of the California Government Code, AB 900 does not contain a section 15819.40(a)(1)(B).

                     Defs.' Resp. to Pls.'                                         Coleman v. Schwarzenegger, Case No. 90-0520
                     Req. for Produc. &Does., Set One                                  Plata v. Sehwarzenegger, Case No. 01-1351
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                 1      DEFENDANTS      object that the RELEVANT TIME PERIOD and AB 900 are inconsistent and
                 2      confusing. As defined by PLAINTIFFS, AB 900 "means the Public Safety and Offender
                 3      Rehabilitation Services Act of 2007, signed into law by Governor Arnold Schwarzenegger
                                                                                                                            on

             4         May 2, 2007." (Req. for Production 5:1-2.) RELEVANT TIME PERIOD, however, is defined
             5         by PLAINTIFFS as "the time period from April 4, 2006... until the present." (Req. for
             6         Production 4:12-14.) To resolve this inconsistency, DEFENDANTS interpret RELEVANT
             7         TIME PERIOD for the purposes of this request to mean the time period from May 2, 2007 to the
             8         present.
             9                Subject to and without waiving the foregoing objections, DEFENDANTS respond as
        10             follows:
        11                   DEFENDANTS will, in accordance with the rolling production described above, produce
        12             all responsive, non-privileged DOCUMENTS from the core group of individuals generated in the
        13             RELEVANT TIME PERIOD               as   understood by DEFENDANTS    on   the subject of CDCR's
        14             consideration of sites for the construction of up to 4,516 additional prison beds under the rubric
     15               of AB 900, which in DEFENDANTS' estimation will not jeopardize the safety of inmates,
     16               custody staff, and/or the public.
    17
    18                REQUEST FOR PRODUCTION NO. 7:
    19                      Any and all DOCUMENTS created during the RELEVANT TIME PERIOD that REFER o•
    20                RELATE TO any. COMMUNICATION from any local entity, INCLUDING
                                                                                                    any local
    21                community group and/or local government officials, regarding the sites for the construction of             up
   22                to 4,516     additional prison beds under § 15819.40(a)(1)(B) of AB 900.
   23                RESPONSE TO REQUEST FOR PRODUCTION NO. 7:
                                                                                                                       ..

   24                       DEFENDANTS        object that the request seeks DOCUMENTS protected from disclosure by
   25                the attorney-client privilege, attorney work product privilege, deliberative
                                                                                                  process privilege, seli:
   26                critical analysis privilege, and official information privilege. DEFENDANTS object that the
   27                request seeks DOCUMENTS that infringe on the privacy fights of third parties. DEFENDANTS
   28                object that the inclusion of the defined word "INCLUDING" renders the request ambiguous,
                     Defs.' Resp. to Pls.'                                        Coleman v. Schwarzenegger, Case No. 90-0520
                     Req. for Produe. of Docs., Set One                               Plata v. Schwarzenegger, Case No. 01-1351
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                         overbroad; and unduly burdensome as PLAINTIFFS have not defined the parameters of the
                 2      request. DEFENDANTS also object to disclosing detailed         informationregarding the
                architecturalspecifications, renderings, blueprints, infrastructure layout, building footprints,
                 3

             4 points of access, and construction design details because release of this information could

             5 jeopardize the safety of inmates, custody staff, and/or the public. DEFENDANTS object that the
             6 request is ambiguous and confusing because while the text of AB 900 references certain sections
             7          of the California Government Code, AB 900 does not contain a section 15819.40(a)(1)(B).
             8                object that the RELEVANT TIME PERIOD and AB 900 are inconsistent and
                       DEFENDANTS
           9 confusing. As defined by PLAINTIFFS, AB 900 "means the Public Safety and Offender
         10 Rehabilitation Services Act of 2007, signed into law by Governor Arnold Schwarzenegger
                                                                                                   on

        11 May 2, 2007." (Req. for Production 5:1-2.) RELEVANT TIME PERIOD, however, is defined
        12 by PLAINTIFFS as "the time period from April 4, 2006... until the present." (Req. for
        13 Production 4:12-14.) To resolve this inconsistency, DEFENDANTS interpret RELEVANT
        14 TIME PER/OD for the purposes of this request to mean the time period from May 2, 2007 to the
        15            present. DEFENDANTS object to this request as redundant and therefore unduly burdensome
    16                because Request for Production No. 6 seeks "any and all DOCUMENTS" that refer relate to
                                                                                                   or

    17                CDCR's consideration of possible sites for the construction of up to 4,516 additional prison beds
    18                under the rubric of AB 900. Consequently, DEFENDANTS' response to Request for Production
    19                No. 6 already encompasses the requested category of DOCUMENTS.
    20
   21                 REQUEST FOR PRODUCTION NO. 8:
   22                       Any and all DOCUMENTS           created during the RELEVANT TIME PERIOD that REFER
                                                                                                                               or
   23                RELATE TO any TIMETABLE for the construction of up to 4,516 additional prison beds under
   24                § 15819.40(a)(1)(B) of AB 900, INCLUDING any DOCUMENTS RELATING TO the
   25                DEPARTMENT'S progress in meeting such a TIMETABLE.
   26                RESPONSE TO REQUEST FOR PRODUCTION NO. 8:
   27                      DEFENDANTS        object that the request seeks DOCUMENTS protected from disclosure by
   28                the attorney-client privilege, attorney work product privilege, deliberative
                                                                                                  process privilege, self.-
                     Defs.' Resp. to Pls.'                                         Coleman v. Schwarzenegger, Case No. 90-0520
                     Req. for Produc. of Docs., Set One                                Plata v. Schwarzenegger, Case No. 01-1351
                                                                       12
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                    critical analysis privilege, and official information privilege. DEFENDANTS            object that the
             2      request seeks DOCUMENTS that infringe on the privacy rights of third parties. DEFENDANTS
         3          object that the inclusion of the defined word "INCLUDING" renders the request ambiguous,
         4          overbroad, and unduly burdensome as PLAINTIFFS have not defined the parameters of the
         5          request. DEFENDANTS also object to disclosing detailed information regarding the
         6          architectural specifications, renderings, blueprints, infrastructure layout, building footprints,
         7         points of access, and construction design details because release of this information c•uld
         jeopardize the safety of inmates, custody staff, and/or the public. DEFENDANTS object that the
         8
       9 request is ambiguous and confusing because while the text of AB 900 references certain sections

     10 of the California Government Code, AB 900 does not contain a section 15819.40(a)(1)(B).
     11 DEFENDANTS object that the RELEVANT TIME PERIOD and AB 900
                                                                                   are inconsistent and

     12 confusing. As defined by PLAINTIFFS, AB 900 "means the Public Safety and Offender
     13 Rehabilitation Services Act of 2007, signed into law by Governor Arnold.Schwarzenegger
                                                                                                    on
    14 May 2, 2007." (Req. for Production 5:1-2.) RELEVANT TIME PERIOD, however, is defined

    15 by PLAINTIFFS as "the time period from April 4, 2006... until the present." (Req. for
    16 Production 4:12-14.) To resolve this inconsistency, DEFENDANTS interpret RELEVANT
    17 TIME PERIOD for the purposes of this request to mean the time period from May 2, 2007 to the
    18            present.
    19                  Subject to and without waiving the foregoing objections, DEFENDANTS respond as
    20            follows:
   21                   DEFENDANTS will, in accordance with the rolling production described above, produce
   22             all responsive, non-privileged DOCUMENTS from the core group of individuals generated in the
   23            RELEVANT TIME PERIOD                 as   understood by DEFENDANTS     on   the subject of timetables for
   24            CDCR's planned construction of up to 4,516 additional prison beds under the rubric of AB 900,
   25            which in DEFENDANTS' estimation will.not jeopardize the safety of inmates, custody staff,
   26            and/or the public.
   27
   28

                 Defs.' Resp. to Pls.'                                          Coleman v. Schwarzenegger, Case No. 90-0520
                 Req. for Produc. of Docs., Set One                                 Plata v. Schwarzenegger, Case No. 01 1351
                                                                      13
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               REQUEST FOR PRODUCTION NO. 9:
        2              Any and all DOCUMENTS created during the RELEVANT TIME PERIOD that REFER or
        3      RELATE TO the DEPARTMENT'S identification of appropriate sites to construct 6,000
        4      additional prison beds under § 15819.40(b) of AB 900 (reentry facilities).
        5     RESPONSE TO            REQUEST FOR PRODUCTION NO..9:
        6            DEFENDANTS    object that the request seeks DOCUMENTS protected from disclosure by
        7 the attorney-client privilege, attorney work product privilege, deliberative process privilege, self-
        8 critical analysis privilege, and official information privilege. DEFENDANTS object that the
        9 request seeks DOCUMENTS that infringe on the privacy rights of third parties. DEFENDANTS
      10 object that the inclusion of the pb2ase "identification of appropriate sites" renders the request
     11 ambiguous, overbroad, and unduly burdensome as PLAINTIFFS have not defined the parameters
     12 of the request. DEFENDANTS also object to disclosing detailed information regarding the
     13 architectural specifications, renderings, blueprints, infrastructure layout, building footprints,
     14 points of access, and construction design details because release of this information could

    15 jeopardize the safety of inmates, custody staff, and/or the public. DEFENDANTS object that the
    16 request is ambiguous and confusing because while the text of AB 900 references certain sections
    17 of the California Government Code, AB 900 does not contain a section 15819.40(b).
    18 DEFENDANTS object that the RELEVANT TIME PERIOD and AB 900 are inconsistent and
    19 confusing. As defined by PLAINTIFFS, AB 900 "means the Public Safety and Offender
   20 Rehabilitation Services Act of 2007, signed into law by Governor Arnold Schwarzenegger
                                                                                                        on

   21 May 2, 2007." (Req. for Production 5:1-2.) RELEVANT TIME PERIOD, however, is defined

   22 by PLAINTIFFS as "the time period from April 4, 2006... until the present." (Req. for

   23 Production 4:12-14.) To resolve this inconsistency, DEFENDANTS interpret RELEVANT

   24 TIME PERIOD for the purposes of this request to mean the time period from May 2, 2007 to the

   25       present.
   26             Subject to and without waiving the foregoing objections, DEFENDANTS respond as
   27       follows:
   28

            Defs.' Resp. to Pls.'                                       Coleman v. Schwarzenegger, CaseNo. 90-0520
            Req. for Produc. of Doest, Set One                              Plata v. Schwarzenegger, Case No. 01-1351
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                 1            DEFENDANTS will, in accordance with the rolling production described above, produce
             2          all responsive, non-privileged DOCUMENTS from the core group of individuals generated in the
             3         RELEVANT TIME PERIOD               as understood   by DEFENDANTS on the subject of CDCR's
             4         ittentification of sites for the construction of up to 6,000 reentry beds under the rubric of AB 900,
             5         which in DEFENDANTS' estimation will not jeopardize the safety of inmates, custody staff,
             6         and/or the public.
             7
             8         REQUEST FOR PRODUCTION NO. 10:
          9                  Any and all DOCUMENTS created during the RELEVANT TIME PERIOD that REFER or
        10             RELATE TO any COMMUNICATION from any local entity, INCLUDI"NG any local
        11            community group and/or local government officials, regarding the sites for the construction of up
        12            to 6,000 additional prison beds under § 15819.40(b) of AB 900 (reentry facilities).

    13                RESPONSE TO REQUEST FOR PRODUCTION NO. 10:
    14                          object that the request seeks DOCUMENTS protected from disclosure by
                            DEFENDANTS
    15 the attorney-client privilege, attorney work product privilege, deliberative process privilege, self-
    16 critical analysis privilege, and official information privilege. DEFENDANTS object that the
    17 request seeks DOCUMENTS that infringe on the privacy rights of third parties. DEFENDANTS
    18 object that the inclusion of the defined word"INCLUDING" renders the request ambiguous,
    19 overbroad, and unduly burdensome as PLAINTIFFS have not defined the parameters of the
   20 request. DEFENDANTS also object to disclosing detailed information regarding the

   21 architectural specifications, renderings, blueprints, infrastructure layout, building footprints,

   22 points of access, and construction design details because release of this information could

   23 jeopardize the safety of inmates, custody staff, and/or the public. DEFENDANTS object that the
   24 request is ambiguous and confusing because while the text of AB 900 references certain sections

   25                of the California Government Code, AB 900 does not contain a section 15819.40(b).
   26                DEFENDANTS        object that the RELEVANT TIME PERIOD and AB 900 are inconsistent and
   27                confusing. As defined by PLAINTIFFS, AB 900 "means the Public Safety and Offender
   28                Rehabilitation Services Act of 2007, signed into law by Governor Arnold Schwarzenegger
                                                                                                            on

                     Defs.' Resp. to Pls.'                                          Coleman v. Schwarzenegger, Case No, 90-0520
                     Req. for Produc, of Docs.,Set One                                  Plata v. Schwarzenegger, Case No. Ol-1351
                                                                          15
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               May 2, 2007." (Req. for Production 5:1-2.) RELEVANT TIME PERIOD, however, is defined
         2     by PLAINTIFFS as "the time period from April 4, 2006... until the present." (Req. for
         3     Production 4:12-14.) To resolve this inconsistency, DEFENDANTS         interpret RELEVANT
         4     TIME PERIOD for the purposes of this request to mean the time period from May 2, 2007 to the
         5     present. DEFENDANTS object to this request as redundant and therefore unduly burdensome
         6     because Request for Production No. 9 seeks "any and.all DOCUMENTS" that refer or relate to
         7     CDCR's identification of appropriate sites for the construction of up to 6,000 reentry beds under
         8     the rubric of AB 900. Consequently, DEFENDANTS' response to Request for Production No. 9
         9     already encompasses the requested category of DOCUMENTS.
    10
    11        REQUEST FOR pRODUCTION NO. 11:
    12              Any and all DOCUMENTS created during the RELEVANT TIME PERIOD that REFER or
    13        RELATE TO any TIMETABLE for the DEPARTMENT to acquire land, design, construct and

    14        renovate in order to construct 6,000    additional prison beds, under § 15819.40(b) of AB 900
    15        (reentry facilities), INCLUDING any DOCUMENTS RELATING TO the DEPARTMENT'S
    16        progress in meeting such a TIMETABLE.
    17        RESPONSE TO REQUEST FOR PRODUCTION NO. l 1:
    18              DEFENDANTS  object that the request seeks DOCUMENTS protected from disclosure by
     19 the attorney-client privilege, attorney work product privilege, deliberative process privilege, sel f. -
    20 critical analysis privilege, and official information privilege. DEFENDANTS object that the

    21 request seeks DOCUMENTS that infringe on the privacy rights of third parties. DEFENDANTS

    22 object that the inclusion of the defined word "INCLUDING" renders the request ambiguous,

   23 overbroad, and unduly burdensome as PLAINTIFFS have not defined the parameters of the

   24 request. DEFENDANTS also object to disclosing detailed information regarding the

   25 architectural specifications, renderings, blueprints, infrastructure layout, building footprints,

   26 points of access, and construction design details because release of this information could
   27 jeopardize the safety of inmates, custody staff, and/or the public. DEFENDANTS object that the

   28 request is ambiguous and confusing because while the text of AB 900 references certain sections

             Defs.' Resp. to Pls.'                                        Coleman v. Schwarzenegger, Case No. 90-0520
             Req. for Produc. of Docs., Set One                               Plata v. Schwarzenegger, Case No. 01-1351
                                                                16
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                  1      of the California Government Code, AB 900 does not contain a section 15819.40(b).
              2         DEFENDANTS       object that the RELEVANT TIME PERIOD and AB 900 are inconsistent and
              3         confusing. As defined by PLAINTIFFS, AB 900 "means the Public Safety and Offender
              4         Rehabilitation Services Act of 2007, signed into law by Governor Arnold Schwarzenegger on
              5         May 2, 2007." (Req. for Production 5:1-2.) RELEVANT TIME PERIOD, however, is defined
              6         by PLAINTIFFS as "the time period from April 4, 2006... until the present." (Req. for
              7         Production 4:12-14.) To resolve this inconsistency, DEFENDANTS interpret RELEVANT
              8         TIME PERIOD for the purposes of this request to mean the time period from May 2, 2007 to the
          9             present.
         10                   Subject to and without waiving the foregoing objections, DEFENDANTS respond as
         11             follows:
     12                       DEFENDANTS will, in accordance with the rolling production described above, produce
     13                all responsive, non-privileged DOCUMENTS from the core group of individuals generated in the
     14                RELEVANT TIME PERIOD                as   understood by DEFENDANTS        on   the subject of timetables for
     15                CDCR's planned construction of up to 6,000 reentry beds under the rubric of AB               900, which in
     16                DEFENDANTS' estimation will not             jeopardize the safety of inmates, custody staff, and/or the
     17                public.
     18
     19                REQUEST FOR PRODUCTION NO. 12:
    20                       Any and all DOCUMENTS created during the RELEVANT TIME PERIOD that REFER or
    21                RELATE TO the DEPARTMENT'S consideration of possible sites for the construction of.new
    22                buildings to treat or house 6,000 inmates under § 15819.40(c) of AB 900.
    23                RESPONSE TO REQUEST FOR PRODUCTION NO. 12:
    24                      DEFENDANTS        object that the request seeks DOCUMENTS protected from disclosure by
    25                the attorney-client privilege, attorney work product privilege, deliberative process privilege, sel f-
    26                critical analysis privilege, and official information privilege. DEFENDANTS              object that the
    27                request seeks DocUMENTS that infringe on the privacy rights of third parties.
    28                DEFENDANTS           object that the inclusion of the phrase "consideration of possible sites" renders
                      Defs.' Resp. to Pls.'                                             Coleman v. Schwarzenegger, Case No. 90-0520
                      Req. for Produc. of Docs., Set One                                    Plata v. Schwarzenegger, Case No. 01-1351
                                                                             17
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                        the request ambiguous, overbroad, and unduly burdensome as PLAINTIFFS have not defined the
                 2      parameters of the request. DEFENDANTSalso object to disclosing detailed information
                 3      regarding the architectural specifications, renderings, blueprints, infrastructure layout, building
             4          footprints, points of access, and construction design details because release of this information
             5          could jeopardize the safety of inmates, custody staff, and/or the public. DEFENDANTS object
             6         that the request seeks DOCUMENTS outside of DEFENDANTS'                   custody and control.
             7         DEFENDANTS            object that the request is ambiguous and confusing because while the text of AB
             8         900 references certain sections of the California Government Code, AB 900 does not contain
                                                                                                                                 a

             9         section 15819.40(c). DEFENDANTS        object that the RELEVANT TIME PERIOD and AB 900
        10             are inconsistent and confusing. As defined by PLAINTIFFS, AB 900 "means the Public Safety

        11            and Offender Rehabilitation Services Act of 2007, signed into law by Governor Arnold
        12            Schwarzenegger on May 2, 2007." (Req. for Production 5:1-2.) RELEVANT TIME PERIOD,
        13            however, is defined by PLAINTIFFS as "the time period from April 4, 2006... until the
        14            present." (Req. for Production 4:12-14.) To resolve this inconsistency, DEFENDANTS interpret
     15               RELEVANT TIME PERIOD for the purposes of this request to mean the time period from May
     16               2, 2007 to the present.
     17                      Subject to and without waiving the foregoing objections, DEFENDANTS respond as
     18               follows:
    19                      DEFENDANTS state that this request addresses additional beds or treatment space that
                                                                                                                 are

    20                within documents equally available to PLAINTIFFS, namely the mental health consolidated
                                                                                                                              care

    21                center or other mental health beds described in Defendants submitted mental health bed plans

    22                (see response to request number 1) in the Coleman case.
    23                      DEFENDANTS           will, in accordance with the rolling production described above, produce
   24                all other responsive, .non-privileged DOCUMENTS from the core group of individuals generated
   25                in the RELEVANT TIME PERIOD               as   understood by DEFENDANTS        on   the subject of CDCR's
   26                consideration of sites for the construction of buildings to treat or house 6,000 inmates underthe
   27                rubric of AB     900, which in DEFENDANTS' estimation will not jeopardize the safety of inmates,
   28                custody staff, and/or the public.
                     Defs.' Resp. to Pls.'                                           Coleman v. Schwarzenegger, Case No. 90-0520
                     Req. for Produe. of Does., Set One                                  Plata v. Schwarzenegger, Case No. 01-1351
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                      1     REQUEST FOR PRODUCTION NO. 13:
                  2              Any and all DOCUMENTS created during the RELEVANT TIME PERIOD that REFER
                                                                                                                                      or
                  3         RELATE TO any COMMUNICATION from any local entity, INCLUDING
                                                                                                         any local
                  4         community group and/or local government officials, regarding the sites for construction of
                                                                                                                                new
                  5        buildings to treat or house 6,000 inmates under § 15819.40(c) of AB 900.
              6            RESPONSE TO REQUEST FOR PRODUCTION NO. 13:
              7                 DEFENDANTS          object that the request seeks DOCUMENTS protected from disclosure by
              8            the attorney-client privilege, attorney work product privilege, deliberative
                                                                                                        process privilege, sel f-
              9            critical analysis privilege, and official information privilege. DEFENDANTS object
                                                                                                                   that the
         10                request seeks DOCUMENTS that infringe on the privacy rights of third parties.
         I1                  object that the inclusion of the defined word "INCLUDING" renders the
                           DEFENDANTS
                                                                                                            request
          i2 ambiguous, overbroad, and unduly burdensome
                                                              as PLAINTIFFS have not defined the parameters

         13 of the request. DEFENDANTS object that the request seeks DOCUMENTS
                                                                                             outside of
         14 DEFENDANTS' custody and control. DEFENDANTS also object to disclosing
                                                                                                 detailed
         15 information regarding the architectural specifications, renderings, blueprints, infrastructure
        16 layout, building footprints, points of access, and construction design details because
                                                                                                     release of
        17 this information could jeopardize the safety of inmates, custody staff, and/or
                                                                                            the public..
        18 DEFENDANTS object that the request is ambiguous and confusing because
                                                                                           while the text of AB'
    19                    900 references certain sections of the California Government Code, AB 900
                                                                                                             does not contain a
    20                    section 15819.40(c). DEFENDANTS  object that the RELEVANT TIME PERIOD and AB 900
    21              are inconsistent and confusing. As defined by PLAINTIFFS, AB 900 "means the
                                                                                                    Public Safety
    22              and Offender Rehabilitation Services Act of 2007, signed into law by Governor
                                                                                                  Arnold
   23              Schwarzenegger on May 2, 2007." (Req. for Production 5:1-2.) RELEVANT TIME PERIOD,
   24              however, is defined by PLAINTIFFS as "the time period from April 4, 2006... until the
   25              present." (Req. for Production 4:12-14.) To resolve this inconsistency, DEFENDANTS interpret
   26             RELEVANT TIME PERIOD for the purposes of this request to                          the time period from May
                                                                                             mean
   27             2, 2007 to the present. DEFENDANTS object to this request redundant and therefore
                                                                           as                       unduly
   28             burdensome because Request for Production No. 12 seeks "any and all DOCUMENTS"
                                                                                                                         that refer
                  Defs.' Resp. to Pls.'                                               Coleman v. Schwarzenegger, Case No. 90-0520
                  Req. for Produc. of Does., Set One                                      Plata v. Schwarzenegger, Case No. 01-1351
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                 1      or   relate to CDCR's consideration of possible sites for the construction of buildings to treat or
             2          house 6,000 inmates under the rubric of AB 900. Consequently, DEFENDANTS' response to
             3          Request for Production No. 12 already encompasses the requested category of DOCUMENTS.
             4
             5         REQUEST FOR PRODUCTION NO. 14:
             6                Any and all DOCUMENTS created during the RELEVANT TIME PERIOD that REFER or
             7         RELATE TO any TIMETABLE for the DEPARTMENT to construct new buildings to treat
                                                                                                      or

             8         house 6,000 inmates under § 15819.40(c) of AB 900, INCLUDING any DOCUMENTS
         9             RELATING TO the DEPARTMENT'S progress in meeting such a TIMETABLE.
        10             RESPONSE TO REQUEST FOR PRODUCTION NO. 14:
        11                       object that therequest seeks DOCUMENTS protected from disclosure by
                              DEFENDANTS
     12 the attorney-client privilege, attorney work product privilege, deliberative process privilege, self-
     13 critical analysis privilege, and official information privilege. DEFENDANTS object that the
     14 request seeks DOCUMENTS that infringe on the privacy rights of third parties.
    15 DEFENDANTS object that the inclusion of the defined word "INCLUDING" renders the request
    16 ambiguous, overbroad, and unduly burdensome as PLAINTIFFS have not defined the parameters
    17 of the request. DEFENDANTS object that the request seeks DOCUMENTS outside of
    18 DEFENDANTS' custody and control. DEFENDANTS also object to disclosing detailed
    19 information regarding the architectural specifications, renderings, blueprints, infrastructure
   20 layout, building footprints, points of access, and construction design details because release of
   21 this information could jeopardize the safety of inmates, custody staff, and/or the public.
   22 DEFENDANTS object that the request is ambiguous and confusing because while the text of AB
   23                900 references certain sections of the California Government Code, AB 900 does not contain
                                                                                                                a

   24                section 15819.40(c). DEFENDANTS       object that the RELEVANT TIME PERIOD and AB 900
   25                are inconsistent and confusing. As defined by PLAINTIFFS, AB 900 "means the Public Safety

   26                and Offender Rehabilitation Services Act of 2007, Signed into law by Governor Arnold
   27                Schwarzenegger on May 2, 2007." (Req. for Production 5:1-2.) RELEVANT TIME PERIOD,
   28                however, is defined by PLAINTIFFS as "the time period from April 4, 2006... until the
                     Defs.' Resp. to Pls.'                                          Coleman v. Schwarzenegger, Case No. 90-0520
                     "Req. for Produc. of Docs., Set One                                Plata v. Schwarzenegger, Case No. 01-1351
                                                                         20
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                present." (Req. for Production 4:12-14.) To resolve this inconsistency, DEFENDANTS interpret
         2      RELEVANT TIME PERIOD for the purposes of this request to mean the time period from May
         3      2, 2007 to the present.
         4            Subject to and without waiving the foregoing objections, DEFENDANTS respond as
         5     follows:
         6            DEFENDANTS will, in accordance with the rolling production described above, produce
         7     all responsive, non-privileged DOCUMENTS from the core group of individuals generated in the
         8     RELEVANT TIME PERIOD               as   understood by DEFENDANTS     on   the subject of timetables for
         9     CDCR's planned construction of buildings to treat or house 6,000 inmates under the rubric of At3
    10         900, which in DEFENDANTS' estimation will not jeopardize the safety of inmates, custody
    11         staff, and/or the public.
    12
    13        REQUEST FOR PRODUCTION NO. 15:
    14               Any and all DOCUMENTS             created during the RELEVANT TIME PERIOD that REFER                  or

    15        REI_sATE TO the identification of appropriate sites to add up to 4,000 additional prison beds,
    16        under § 15819.41 (a) of AB900.
    17        RESPONSE TO REQUEST FOR PRODUCTION NO. 15:
    18               DEFENDANTS object that the request seeks DOCUMENTS protected from disclosure by
     19 the attorney-client privilege, attorney work product privilege, deliberative process privilege, self-
    20 critical analysis privilege, and official information privilege. DEFENDANTS object that the
                                                                                                                           ::.


    21 request seeks DOCUMENTS that infringe on the privacy rights of third parties.

    22 DEFENDANTS object that the inclusion of the phrase "identification of appropriate sites"

    23 renders the request ambiguous, overbroad, and unduly burdensome as PLAINTIFFS have not

   24 defined the parameters of the request. DEFENDANTS also object to disclosing detailed

   25 information regarding the architectural specifications, renderings, blueprints, infrastructure

   26 layout, building footprints, points of access, and construction design details because release of
   27 this information could jeopardize the safety of inmates, custody staff, and/or the public.

   28 DEFENDANTS object that the request is ambiguous and confusing because while the text of AB

             Defs.' Resp. to Pls.'                                         Coleman v. Schwarzenegger, Case No. 90-0520
             Req. for Produc. of Docs., Set One                                Plata v. Schwarzenegger, Case No. 01-1351
                                                                 21
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              1     900 references certain sections of the California Government Code, AB 900 does not contain a
              2     section 15819.41(a). DEFENDANTS         object that the RELEVANT TIME PERIOD and AB 900
              3      are inconsistent and confusing. As defined by PLAINTIFFS, AB 900 "means the Public Safety

          4         and Offender Rehabilitation Services Act of 2007, signed into law by Governor Arnold
          5         Schwarzenegger on May 2, 2007." (Req. for Production 5:1-2.) RELEVANT TIME PERIOD,
          6         however, is defined by PLAINTIFFS as "the time period from April 4, 2006... until the
          7         present." (Req. for Production 4:12-14.) To resolve this inconsistency, DEFENDANTS interpret
          8         RELEVANT TIME PERIOD for the purposes of this request to mean the time period from May
          9         2, 2007 to the present.
         10               Subject to and without waiving the foregoing objections, DEFENDANTS respond as
     11            follows:
     12                   DEFENDANTS      will, in accordance with the rolling production described above, produce
     13            all responsive, non-privileged DOCUMENTS from the core group of individuals generated in th:6
     141 RELEVANT TIME PERIOD as understood by DEFENDANTS on the subject of CDCR's
     15            identification of sites for the construction of up to 4,000 additional prison beds under the rubric
     16            of AB 900, which in DEFENDANTS' estimation will not jeopardize the safety of inmates,
     17            custody staff, and/or the public.
     18
     19            REQUEST FOR PRODUCTION NO. 16:
    20                   Any and all DOCUMENTS created during the RELEVANT TIME PERIOD that REFER or
    21            RELATE TO any COMMUNICATION from any local entity, INCLUDING any local
    22            community group and/or local government officials, regarding the sites to add up to 4,000
    23            additional prison beds, under § 15819.41 (a) of AB900.
    24            RESPONSE TO            REQUEST FOR PRODUCTION NO. 16:
    25                  DEFENDANTS         object that the request seeks DOCUMENTS protected from disclosure by
    26            the attorney-client privilege, attorney work product privilege, deliberative process privilege, self-
    27            critical analysis privilege, and official information privilege. DEFENDANTS object that the
    28            request seeks DOCUMENTS that infringe on the privacy rights of third parties.
                  Defs.' Resp. to Pls.'                                        Coleman v. Schwarzenegger, Case No. 90-0520
                  Req. for Produc. of Does., Set One                               Plata v. Schwarzenegger, Case No. 01-1351
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                   DEFENDANTS     object that the inclusion of the defined word "INCLUDING" renders the request
              2 ambiguous, overbroad, and unduly burdensome as PLAINTIFFS have not defined the parameters

             3 of the request. DEFENDANTS also object to disclosing detailed information regarding the
             4 architectural specifications, renderings, blueprints• infrastructure layout, building footprints,
             5 points of access, and construction design details because release of this information could
             6 jeopardize the safety of inmates, custody staff, and/or the public. DEFENDANTS object that the

                request is ambiguous and confusing because while the text of AB 900 references certain sections
             8     of the California Government Code, AB 900 does not contain a section 15819.41 (a).
          9        DEFENDANTS      object that the RELEVANT TIME PERIOD and AB 900 are inconsistent and
        10        confusing. As defined by PLAINTIFFS, AB 900 "means the Public Safety and Offender
        1I        Rehabilitation Services Act of 2007, signed into law by Governor Arnold Schwarzenegger on
     12           May 2, 2007." (Req. for Production 5:1-2.) RELEVANT TIME PERIOD, however, is defined
     13           by PLAINTIFFS as "the time period from April 4, 2006... until the present." (Req. for
     14           Production 4:12-14.) To resolve this inconsistency, DEFENDANTS interpret RELEVANT
     15           TIME PERIOD for the purposes of this request to mean the time period from May 2, 2007 to thc
     16           present. DEFENDANTS object to this request as redundant and therefore unduly burdensome
     I7           because Request for Production No. 15 seeks "any and all DOCUMENTS" that refer or relate to
     18           CDCR'S identification of appropriate sites for the construction of up to 4,000 additional prison
     19          beds under the rubric of AB 900. Consequently, DEFENDANTS' response to Request for
    20           Production No. 15 already encompasses the requested category of DOCUMENTS.
    21

    22           REQUEST FOR PRODUCTION NO. 17:
    23                  Any and all DOCUMENTS created during the RELEVANT TIME PERIOD that REFER or
    24           RELATE TO any TIMETABLE for the DEPARTMENT to design, construct, and renovate
    25           existing facilities in order to add up to 4,000 additional beds under § 15819.41(a) of AB900,
    26           INCLUDING any DOCUMENTS RELATING TO the DEPARTMENT'S progress in meeting
   27            such a TIMETABLE.
   28

                 Defs.' Resp. to Pls.'                                       Coleman v. Schwarzenegger, Case No. 90-0520
                 Req. for Produc. of Docs., Set One                              Plata v. Schwarzenegger, Case No. 01 1351
                                                                 23
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             1     RESPONSE TO REQUEST FOR PRODUCTION NO. 17:
         2                DEFENDANTS        object that the request seeks DOCUMENTS protected from disclosure by
         3         the attorney-client privilege, attorney work product privilege, deliberative process privilege, self-
                   critical analysis privilege, and official information privilege. DEFENDANTS object that the
         5         request seeks DOCUMENTS that infringe on the privacy rights of third parties.
         6         DEFENDANTSobject that the inclusion of the defined word "INCLUDING" renders the request
        7 ambiguous, overbroad, and unduly burdensome as PLAINTIFFS have not defined the parameters
        8 of the request. DEFENDANTS also object to disclosing detailed information regarding the
        9 architectural specifications,, renderings, blueprints, infrastructure layout, building footprints,
     10 points of access, and construction design details because release of this information could
     11 jeopardize the safety of inmates, custody staff, and/or the public. DEFENDANTS object that the

     12 request is ambiguous and confusing because while the text of AB 900 references certain sections

     t3 of the California Government Code, AB 900 does not contain a section 15819.41(a).
    14 DEFENDANTS object that the RELEVANT TIME PERIOD and AB 900 are inconsistent and

    15 confusing. As defined by PLAINTIFFS, AB 900 "means the Public Safety and Offender

    16 Rehabilitation Services Act of 2007, signed into law by Governor Arnold Schwarzenegger on
      •] May 2, 2007." (Req. for Production 5:1-2.) RELEVANT TIME PERIOD, however, is defined
    18 by PLAINTIFFS as "the time period from April 4, 2006... until the present." (Req. for
    19 Production 4:12-14.) To resolve this inconsistency, DEFENDANTS interpret RELEVANT
    20           TIME PERIOD for the purposes of this request to mean the time period from May 2, 2007 to the
    21           present.
   22                   Subject to and without waiving the foregoing objections, DEFENDANTS respond as
   23            follows:
   24                   DEFENDANTS           will, in accordance with the rolling production described above, produce
   25            all responsive, non-privileged DOCUMENTS from the core group of individuals generated in the
   26            RELEVANT TIME PERIOD                 as   understood by DEFENDANTS     on   the subject of timetables for
   27            CDCR's planned construction of up to 4,000 additional prison beds under the rubric of AB 900,
   28

                 Defs.' Resp. to Pls.'                                           Coleman v. Schwarzenegger, Case No. 90-0520
                 Req. for Produc. of Docs., Set One                                  Plata v. Schwarzenegger, Case No. 01-135'1
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            1      which in DEFENDANTS' estimation will not jeopardize the safety of inmates, custody staff,
         2         and/or the public.
        3
        4         REQUEST FOR PRODUCTION NO. 18:
        5               Any and all DOCUMENTS created during the RELEVANT TIME PERIOD that REFER or
        6         RELATE TO tlie DEPARTMENT'S identification of appropriate sites to construct new
        7         building• to treat or house up to 2,000 inmates Under § 15819.41(b) of AB900.
        8         RESPONSE TO REQUEST FOR PRODUCTION-NO. 18:
        9               DEFENDANTSobjegt that the request seeks DOCUMENTS protected from disclosure by
      10 the attorney-client privilege, attorney work product privilege, deliberative process privilege, sel f-
      11 critical analysis privilege, and official information privilege. DEFENDANTS object that the
      12 request seeks DOCUMENTS that infringe on the privacy rights of third parties.
      13 DEFENDANTS object that the inclusion of the phrase "identific-ation of appropriate sites"
      14 renders the request ambiguous, overbroad, and unduly burdensome as PLAINTIFFS have not
     15 defined the parameters of the request. DEFENDANTS object that the request seeks
     16 DOCUMENTS outside of DEFENDANTS' custody and control. DEFENDANTS also object to
     17 disclosing detailed information regarding the architectural specifications, renderings, blueprints,
     18 infrastructure layout, building footprints, points of access, and construction design details
     19 because release of this information could jeopardize the safety of inmates, custody staff, and/or
    20 the public. DEFENDANTS object that the request is ambiguous and confusing because while
    21 the text of AB 900 references certain sections of the California Government Code, AB 900 does

   22 not contain a section 15819.41 (b). DEFENDANTS object that the RELEVANT TIME PERIOD

   23 and AB 900 are inconsistent and confusing. As defined by PLAINTIFFS, AB 900 "means the
   24 Public Safety and Offender Rehabilitation Services Act of 2007, signed into law by Governor
   25 Arnold Schwarzenegger on May 2, 2007." (Req. for Production 5:1-2.) RELEVANT TIME
   26 PERIOD, however, is defined by PLAINTIFFS as "the time period from April 4, 2006... until
   27 the present." (Req. for Production 4:12-14.) To resolve this inconsistency, DEFENDANTS
   28
                Defs.' Resp. to Pls.'                                     Coleman v. Schwarzenegger, Case No. 90-0520
                Req. for Produc. of Docs., Set One                            Plata v. Schwarzenegger, Case No. 01 135
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             1     interpret RELEVANT TIME PERIOD for the purposes of this request to mean the time period
         2         from May 2, 2007 to the present.
         3               Subject to and without w•iiving the foregoing objections, DEFENDANTS respond as
         4        follows:
         5               DEFENDANTS           will, in accordance with the rolling production described above, produce
         6        all responsive, non-privileged DOCUMENTS from the core group of individuals generated in the
         7        RELEVANT TIME PERIOD                as   understood by DEFENDANTS       on   the subject of CDCR's
         8        identification of sites for the construction of up to 2,000 additional prison beds under the rubric
         9        of AB 900, which in DEFENDANTS' estimation will not jeopardize the safety of inmates,
    10            custody staff, and/or the public.
    11
    12            REQUEST FOR PRODUCTION NO. 19:
    13                  Any and all DOCUMENTS created during the RELEVANT TIME PERIOD that REFER or
    14            RELATE TO any COMMUNICATION from any local entity, INCLUDING any local
    15           community group and/or local government officials, regarding the sites for the construction of
    16           new buildings to treat or house up to 2,000 inmates under § 15819.41(b) of AB 900.

    17           RESPONSE TO            REQUEST FOR PRODUCTION NO. 19:
    18                          object that the request seeks DOCUMENTS protected from disclosure by
                        DEFENDANTS
    19 the attorney-client privilege, attorney work product privilege, deliberative process privilege, selt:
    20 critical analysis privilege, and official information privilege. DEFENDANTS object that the

    21 request seeks DOCUMENTS that infringe on the privacy rights of third parties.
   22 DEFENDANTS object that the inclusion of the defined word "INCLUDING" renders the request

   23 ambiguous, overbroad, and unduly burdensome as PLAINTIFFS have not defined the parameters
   24 of the request. DEFENDANTS also object to disclosing detailed information regarding the

   25 architectural specifications, renderings, blueprints, infrastructure layout, building footprints,
   26 points of access, and construction design details because release of this information could
   27 jeopardize the safety of inmates, custody staff, and/or the public. DEFENDANTS object that the

   28 request seeks DOCUMENTS outside of DEFENDANTS' custody and control. DEFENDANTS
                 Defs.' Resp. to Pls.'                                           Coleman v. Schwarzenegger, Case No. 90-0520
                 Req. for Produc. of Does., Set One                                  Plata v. Schwarzenegger, Case No. 01-1351
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                     object that the request is ambiguous and confusing because while the text of AB 900 references
              2      certain sections of the California Government Code, AB 900 does not contain a section
             3       15819.41(b). DEFENDANTS object that the RELEVANT TIME PERIOD and AB 900 are
             4      inconsistent and confusing. As defined by PLAINTIFFS, AB 900 "means the Public Safety and
             5      Offender Rehabilitation Services Act of 2007, signed into law by Governor Arnold
             6      Schwarzeneggeron May 2, 2007." (Req. for Production 5:1-2.) RELEVANT TIME PERIOD,
             7      however, is defined by PLAINTIFFS as "the time period from April 4, 2006... until the
             8      present." (Req. for Production 4:12-14.) To resolve this inconsistency, DEFENDANTS interpret
          9         RELEVANT TIME PERIOD for the purposes of this request to mean the time period from May
        10          2, 2007 to the present. DEFENDANTS object to this request as redundant and therefore unduly
        11         burdensome because Request for Production No. 18 seeks "any and all DOCUMENTS" that refer
        12         or   relate to CDCR's identification of appropriate sites for the construction of up to 2,000
     13            additional prison beds under the rubric of AB 900.
                                                                    Consequently,.DEFENDANTS' response to
     14            Request for Production No. 18 already encompasses the requested category of DOCUMENTS.
     15

     16            REQUEST FOR PRODUCTION NO. 20:
    17                   Any and all DOCUMENTS created during the RELEVANT TIME PERIOD that REFER or
    18             RELATE TO any TIMETABLE for the DEPARTMENT to design, construct, and establish new:
    19             buildings to treat or house 2,000 inmates Under § 15819.41(b) of AB 900, INCLUDING any
    20             DOCUMENTS RELATING TO the DEPARTMENT'S progress in meeting such a
    21            TIMETABLE.
    22            RESPONSE TO REQUEST FOR PRODUCTION NO. 20:
    23                   DEFENDANTS        object that the request seeks DOCUMENTS protected from disclosure by
    24            the attorney-client privilege, attorney work product privilege, deliberative process privilege, self-

   25             critical analysis privilege, and official information privilege. DEFENDANTS object that the
   26             request seeks DOCUMENTS that infringe on the privacy rights of third parties,
   27             DEFENDANTS object that the inclusion of the defined word "INCLUDING" renders the request
   28             ambiguous, overbroad, and unduly burdensome as PLAINTIFFS have not defined the parameters
                  Defs.' Resp. to Pls.'                                         Coleman v. Schwarzenegger, Case No. 90-0520
                  Req. for Produc. of Does., Set One                                Plata v. Schwarzenegger, Case No. 01-13 •
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          1     of the request. DEFENDANTS   object that the request seeks DOCUMENTS outside of
        2 DEFENDANTS' custody and control. DEFENDANTS also object to disclosing detailed

        3 information regarding the architectural specifications, renderings, blueprints, infrastructure
        4 layout, building footprints, points of access, and construction design details because release of
        5 this information could jeopardize the safety of inmates, custody staff, and/or the public.
       6 DEFENDANTS object that the request is ambiguous and confusing because while the text of AB

       7 900 references certain sections of the California Government Code, AB 900 does not contain a

       8 section 15819.41 (b). DEFENDANTS object that the RELEVANT TIME PERIOD and AB 900
       9 are inconsistent and confusing. As defined by PLAINTIFFS, AB 900 "means the Public Safety '
     10 and Offender Rehabilitation Services Act of 2007, signed into law by Governor Arnold
     11 Schwarzenegger on May 2, 2007." (Req. for Production 5:1-2.) RELEVANT TIME PERIOD,
     12 however, is defined by PLAINTIFFS as "the time period from April 4, 2006... until the
     13 present." (Req. for Production 4i 12-14.) To resolve this inconsistency, DEFENDANTS interpret

     14        RELEVANT TIME PERIOD for the purposes of this request to mean the time period from May
     15        2, 2007 to the present.
     16              Subject to and without waiving the foregoing objections, DEFENDANTS respond as
     17        follows:
     18              DEFENDANTS           will, in accordance with the rolling production described above, produce
     19       all responsive, non-privileged .DOCUMENTS from the core group of individuals generated in the
    20        RELEVANT TIME PERIOD                 as   understood by DEFENDANTS .on the subject of timetables tbr:
    21        CDCR's       planned construction of up to 2,000 additional prison beds under the rubric of AB 900,
    22        which in DEFENDANTS' estimation will not jeopardize the safety of inmates, custody staff,
    23        and/or the    public.
    24

    25        REQUEST FOR PRODUCTION NO. 21:
    26              Any and all DOCUMENTS created during the RELEVANT TIME PERIOD that REFER or
    27        RELATE TO any TIMETABLE for the DEPARTMENT'S identification of appropriate sites to
    28

              Defs.' Resp. to Pls.'                                            Coleman v. Schwarzenegger, Case No. 90-0520
              Req. for Produc. of Docs., Set One                                   Plata v. Schwarzenegger, Case No. 01-1351
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               construct, establish and operate reentry program facilities that will house 10,000 inmates, under §
         2     15819.41(c) of AB 900.
         3     RESPONSE TO           REQUEST FOR PRODUCTION NO. 21:
         4           DEFENDANTS    object that the request seeks DOCUMENTS protected from disclosure by
        5 the attorney-client privilege, attorney work product.privilege, deliberative process privilege, self-
        6 critical analysis privilege, and official information privilege. DEFENDANTS object that the
        7 request seek s DOCUMENTS that infringe on the privacy rights of third parties.
        8 DEFENDANTS object that the inclusion of the phrase "identification of appropriate sites"
        9 renders the request ambiguous, overbroad, and unduly burdensome as PLAINTIFFS have not
      10 defined the parameters of the request. DEFENDANTS also object to disclosing detailed
      11 information regarding the architectural specifications, renderings, blueprints, infrastructure
      12 layout, building footprints, points of access, and construction design details because release of
      13 this information could jeopardize the safety of inmates, custody staff, and/or the public.
     14 DEFENDANTS object that the request is ambiguous and confusing because while the text of AB
     15 900 references certain sections of the California Government Code, AB 900 does not contain a
     16 section 15819.41(c). DEFENDANTS object that the RELEVANT TIME PERIOD and AB 900
     17 are inconsistent and confusing. As defined by PLAINTIFFS, AB 900 "means the Public Safety
     18 and Offender Rehabilitation Services Act of 2007, signed into law by Governor Arnold
     19 Schwarzenegger on May 2, 2007." (Req. for Production 5:1-2.) RELEVANT TIME PERIOD,
    20 however, is defined by PLAINTIFFS as "the time period from April 4, 2006... until the

    21 present." (Req. for Production 4:12-14.) To resolve this inconsistency, DEFENDANTS interpret

    22 RELEVANT TIME PERIOD for the purposes of this request to mean the time period from May
    23       2, 2007 to the present.
    24             Subject to and without waiving the foregoing objections, DEFENDANTS respond as
    25       follows:
    26             DEFENDANTS            will, in accordance with the rolling production described above, produce
    27       all responsive, non-privileged DOCUMENTS from the core group of individuals generated in the
   28        RELEVANT TIME PERIOD                 as   understood by DEFENDANTS     on   the subject of CDCR's
             Defs.' Resp. to Pls.'                                           Coleman v. Schwarzenegger, Case No. 90-0520
             Req. for Produc. of Does., Set One                                  Plata v. Schwarzenegger, Case NO. 01-1351
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                 identification of sites for the construction of reentry program facilities that will house 10,000
          2     inmates under the rubric of AB 900, which in DEFENDANTS' estimation will not jeopardize the
         3      safety of inmates, custody staff, and/or the public.
         4

         5      REQUEST FOR PRODUCTION NO. 22:
         6            Any and all DOCUMENTS created during the RELEVANT TIME PERIOD that REFER or
         7      RELATE TO any COMMUNICATION from any local entity, INCLUDING any local
         8      community group and/or local government officials, regayding the sites for the construction,
      9         establishment and/or operation of reentry program facilities to house 10,000 inmates, under §
    10          15819.41(c) of AB 900.
    11          RESPONSE TO           REQUEST FOR PRODUCTION NO. 22:
    Iz                DEFENDANTS  object that the request seeks DOCUMENTS protected from disclosure by
      13 the attorney-client privilege, attorney work product privilege, deliberative process privilege, serf-
      14 critical analysis privilege, and official information privilege. DEFENDANTS object that the
      15 request seeks DOCUMENTS that infringe on the privacy rights of third parties.
     16 DEFENDANTS object that the inclusion of the defined word "INCLUDING" renders the request
     17 ambiguous, overbroad, and unduly burdensome as PLAINTIFFS have not defined the parameters
     18 of the request. DEFENDANTS also object to disclosing detailed information regarding the
     19 architectural specifications, renderings, blueprints, infrastructure layout, building footprints,
    20 points of access, and .construction design details because release of this information could

    21 jeopardize the safety of inmates, custody staff, and/or the public. DEFENDANTS object that the
    22 request is ambiguous and confusing because while the text of AB 900 references certain sections

    23 of the California Government Code, AB 900 does not contain a section 15819.41 (c).

   24 DEFENDANTS object that the RELEVANT TIME PERIOD and AB 900 are inconsistent and

   25 confusing. As defined by PLAINTIFFS, AB 900 "means the Public Safety and Offender
   26 Rehabilitation Services Act of 2007, signed into law by Governor Arnold Schwarzenegger on
   27 May 2, 2007." (Req. for Production 5:1-2.) RELEVANT TIME PERIOD, however, is defined

   28 by PLAINTIFFS as "the time period from April 4, 2006... matil the present." (Req. for

              Defs.' Resp. to Pls:'                                         Coleman v. Schwarzenegger, Case No. 90-0520
              Req. for Produe. of Docs., Set One                                Plata v. Schwarzenegger, Case No. 01-1351
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                 1       Production 4:12-14.) To resolve this inconsistency, DEFENDANTS         interpret RELEVANT
                 2      TIME PERIOD for the purposes of this request to mean the time period from May 2, 2007 to the
                 3      present. DEFENDANTS object to this request as redundant and therefore unduly burdensome
             4          because Request for Production No. 21 seeks "any and all DOCUMENTS" that refer relate to
                                                                                                                or

             5          CDCR's identification of appropriate sites for the construction of reentry
                                                                                                    program facilities that
             6          will house 10,000 inmates under the rubric of AB 900.      Consequently, DEFENDANTS' response
             7          to Request    for Production No. 21 already encompasses the requested category of DOCUMENTS.
             8
             9         REQUEST FOR PRODUCTION NO. 23:
        10                   Any and. all DOCUMENTS created during the RELEVANT TIME PERIOD that REFER or
        11             RELATE TO any TIMETABLE for the DEPARTMENT to construct, establish and operate
        12             reentry program facilities that will house 10,000 inmates, under § 15819.41(c) of AB 900
        13             (reentry facilities), INCLUDING any DOCUMENTS RELATING TO the DEPARTMENT'S
        14             progress in meeting such a TIMETABLE.
        15             RESPONSE TO REQUEST FOR PRODUCTION NO. 23:
    16                       DEFENDANTS object that the request seeks DOCUMENTS protected from disclosure by
    17                the attorney-client privilege, attorney work product privilege, deliberative
                                                                                                       process privilege, self-.
    18                critical analysis privilege, and official information privilege. DEFENDANTS            object that the
    19                request seeks DOCUMENTS that infringe on the privacy rights of third parties.
    20                DEFENDANTS      object that the inclusion of the defined word "INCLUDING" renders the request
   21                 ambiguous, overbroad, and unduly burdensome as PLAINTIFFS have not defined the parameters
   22                 of the request. DEFENDANTS also object to disclosing detailed information regarding the
   23                 architectural specifications, renderings, blueprints, infrastructure layout, building footprints,
   24                points of access, and construction design details because release of this information could
   25                jeopardize the safety of inmates, custody staff, and/or the public. DEFENDANTS object that the
   26                request is ambiguous and confusing because while the text of AB 900 references certain sections
   27                of the California Government Code, AB 900 does not contain a section t 5819.41 (c).
   28                DEFENDANTS           object that the RELEVANT TIME PERIOD and AB 900 are inconsistent and
                     Defs.' Resp. to Pls.'                                          Coleman v. Schwarzenegger, Case No. 90-0520
                     Req. for Produc, of Docs., Set One                                 Plata v. Schwarzenegger, Case No. 01 135
                                                                        31
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                 1      confusing. As defined by PLAINTIFFS, AB 900 "means the Public Safety and Offender
             2         Rehabilitation Services Act of 2007, signed into law by Governor Arnold Schwarzenegger on
             3         May 2, 2007." (Req. for Production 5:1-2.) RELEVANT TIME PERIOD, however, is defined
             4         by PLAINTIFFS as "the time period from April 4, 2006... until the present." (Req. for
             5         Product!on 4:12-14.) To resolve this inconsistency, DEFENDANTS interpret RELEVANT
             6         TIME PERIOD for the purposes of this request to mean the time period from May 2, 2007 to the
             7         present.
             8               Subject to and without waiving the foregoing objections, DEFENDANTS respond as
          9            follows:
        10                   DEFENDANTS       will, in accordance with the rolling production described above, produce
        11             all responsive, non-privileged DOCUMENTS from the core group of individuals generated in the
     12               RELEVANT TIME PERIOD                as understood   by DEFENDANTS on the subject of timetables for:
     13               CDCR's planned construction of reentry program facilities that will house 10,000 inmates under
     14               the rubric of AB      900, which in DEFENDANTS' estimation will not jeopardize the safety of
     15               inmates, custody staff, and/or the public.
    16
    17                REQUEST FOR PRODUCTION NO. 24:
    18                      Any and all DOCUMENTS created during the RELEVANT TIME PERIOD that REFER or
    19                RELATE TO any TIMETABLE for the transfers of inmates out of state under § 11191 of AB900,
    20               INCLUDING any DOCUMENTS RELATING TO the DEPARTMENT'S progress in meeting
    21               such a TIMETABLE.
    22               RESPONSE TO REQUEST FOR PRODUCTION NO. 24:
   23                       DEFENDANTS        object that the request seeks DOCUMENTS protected from disclosure by.
   24                the attorney-client privilege, attorney work product privilege, deliberative process privilege, self-
   25                critical analysis privilege, and official information privilege. DEFENDANTS object that the
   26                request seeks DOCUMENTS that infringe on the privacy rights of third parties.
   27                DEFENDANTS object that the inclusion of the defined word "INCLUDING" renders the request
   28                ambiguous, overbroad, and unduly burdensome as PLAINTIFFS have not defined the parameters
                     Defs.' Resp. to Pls.'                                           Coleman v. Schwarzenegger, Case No. 90-0520
                     Req. for Produc. of Does., Set One                                  Plata v. Schwarzenegger, Case No. 01-1351
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                of the request. DEFENDANTS           object to the request as unduly burdensome as responsive
          2     DOCUMENTS have already been disclosed in the course of the Coleman litigation and
          3     information regarding out-of-state transfers is equally available on CDCR's website.
          4     DEFENDANTS also object to disclosing detailed information           •'egarding inmate movement
          5     transport, and transfer because release Of this information could jeopardize the safety of inmates,
          6     custody staff, and/or the public. DEFENDANTS object that the request is ambiguous and
          7     confusing because while the text of AB 900 references certain sections of the California
          8    Government       Code, AB 900 does not contain a section 11191. DEFENDANTS object that the
          9    RELEVANT TIME PERIOD and AB 900 are inconsistent and confusing. As defined by
     10        PLAINTIFFS, AB 900 "means the Public Safety and Offender Rehabilitation Services Act of
     11        2007, signed intolaw by Governor Amold Schwarzenegger on May 2, 2007." (Req. for
     12        Production 5:1-2.) RELEVANT TIME               PERIOD, however, is defined by PLAINTIFFS as "the
     13        time period from April 4, 2006... until the present."       (Req. for Production 4:12-14.) To resolve
     14        this inconsistency, DEFENDANTS        interpret RELEVANT TIME PERIOD for the purposes of
     15        this request .to mean the time period from May 2, 2007 to the present.
    16               Subject to and without waiving the foregoing objections, DEFENDANTS respond as
    17         follows:
    18               DEFENDANTS state that this request addresses out-of-state transfer timetables that are
    19        within documents equally available to PLAINTIFFS, namely the already-produced activation
    20        schedules and the Governor's Emergency Proclamation of October 2006 providing certain
    21        criteria for out-of-state transfer.
    22               DEFENDANTS           will, in accordance with the rolling production described above, produce
    23        all other responsive, non-privileged DOCUMENTS from the core group of individuals generated
    24        in the RELEVANT TIME PERIOD               as   understood by DEFENDANTS        on   the subject of
   25         timetables    for CDCR's planned ti'ansfers of inmates to out-of-state facilities under the rubric of
   26         AB   900, which in DEFENDANTS' estimation will not jeopardize the safety of inmates, custody
   27         staff, and/or the public
   28

              Defs.' Resp. to Pls.'                                           Coleman v. Schwarzenegger, Case No. 90-0520
              Req. for Produc. of Docs., Set One                                  Plata v. Schwarzenegger, Case No. 01-1351
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              REQUEST FOR PRODUCTION NO. 25:
         2          Any and all DOCUMENTS created during the RELEVANT TIME PERIOD that REFER or
         3    RELATE TO the DEPARTMENT'S           ability or lack of ability to hire and/or retain medical and
       4 mental health staff in PRISONS, INCLUDING but not limited to any studies or analyses of the
       5 effect of AB900 on medical and mental health staffing levels.
       6 RESPONSE TO REQUEST FOR PRODUCTION NO. 25:
       7        DEFENDANTS object that the request seeks DOCUMENTS protected from disclosure by
       8 the attorney-client privilege, attorney work product privilege, deliberative process privilege, self-
       9 critical analysis privilege, and official information privilege. DEFENDANTS object that the
     10 request seeks DOCUMENTS that infringe on the privacy rights of third parties.

     11 DEFENDANTS object that the inclusion of the defined word "INCLUDING" renders the request
     12 ambiguous, overbroad, and unduly burdensome as PLAINTIFFS have not defined the parameters

     13 of the request. DEFENDANTS object that the request seeks DOCUMENTS outside of
     14 DEFENDANTS' custody and control. DEFENDANTS object to the request as undu!y
     15 burdensome as responsive DOCUMENTS have already been provided to PLAINTIFFS in the
     16 course of the Plata litigation. DEFENDANTS object that the RELEVANT TIME PERIOD and
     17 AB 900 are inconsistent and confusing. As defined by PLAINTIFFS, AB 900 "means the Public

    18 Safety and Offender Rehabilitation Services Act of 2007, signed into law by Governor Arnold

    19 Schwarzenegger on May 2, 2007." (Req. for Production 5:1-2.) RELEVANT TIME PERIOD,
    20 however, is defined by PLAINTIFFS as "the time period from April 4, 2006... until the

    21 present." (Req. for Production 4:12-14.) To resolve this inconsistency, DEFENDANTS interpret
    22 RELEVANT TIME PERIOD for the purposes of this request to mean the time period from May
    23       2, 2007 to the present.
    24             Subject to and without waiving the foregoing objections, DEFENDANTS respond as
    25       follows:
    26             DEFENDANTS state that this request addresses recruitment and hiring issues that are
    27       already detailed within documents equally available to Plaintiffs, namely:
    28                  1. The Coleman monthly report submitted to Special Master Keating and Plaintiffs;.

             Defs.' Resp. to Pls.'                                     Coleman v. Schwarzenegger, Case No. 90-0520
             Req. for Produc. of Does., Set One                            Plata v. Schwarzenegger, Case No. 01-1351
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              1                  2.    The DMH pay parity plan, filed with the Coleman court in June 2007;
          2                      3.    The CDCR recruitment plan, filed with the Coleman court in October 2007.
          3                      4.    The DMH         plan to open 125 beds at Atascadero State Hospital for Coleman class
          4                            members, filed with the Coleman court in August 2007.
          5                     5.     The CDCR proposed resolution to the State Personnel Board to compress hiring
          6                           ranks for certain Coleman clinical positions, and the resulting State Personnel
          7                           Board resolution issued in June 2007.
          8                     6.    Defendants' plan to address pay parity with DMH clinicians, filed with the
          9                           Coleman court on    April 2, 2007, with attached letter requesting the Legislature to
     10                               authorize $1 million in funding to support the recruitment of psychiatric and
     11                               medical services staffwithin state institutions.
     i2                         7.    Defendants' response to the court order to address staffing vacancies within
     13                               DMH, filed with the Coleman court on May 16, 2007.
     14                   DEFENDANTS            will, in accordance with the rolling production described above, produce
     15            all other responsive, non-privileged DOCUMENTS from the core group of individuals generated
     16            in the RELEVANT TIME PERIOD                  as understood   by DEFENDANTS on the subject of CDCR's
     17            ability to hire or retain medical and mental health staffin PRISONS.
     18
    19            REQUEST FOR PRODUCTION NO. 26:
    20                   Any and all DOCUMENTS created during the RELEVANT TIME PERIOD that REFER or
    21            RELATE TO any studies or analyses of the effect of AB900              on   medical and mental health care at
    22            the PRISONS.
    23            RESPONSE TO            REQUEST FOR PRODUCTION NO. 26:
    24                  DEFENDANTS            object that the request seeks DOCUMENTS protected from disclosure by
    25            the attorney-client     privilege, attorney work p¢oduct privilege, deliberat!ve process privilege, self-
    26            critical analysis privilege, and official information privilege. DEFENDANTS                object that the
    27            request seeks DOCUMENTS that infi"inge on the privacy rights of third parties.
   28             DEFENDANTS           object that the inclusion of the phrase "studies or analyses" renders the request
                  Defs.' Resp. to Pls.'                                              Coleman v. Schwarzenegger, Case No. 90-0520
                  Req. for Produc, of Does., Set One                                     Plata v. Schwarzenegger, Case No. 01-! 35
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             1      ambiguous, overbroad, and unduly burdensome as PLAINTIFFS have not defined the parameterS
             2      of the request. DEFENDANTS object that the request seeks DOCUMENTS outside of
            3 DEFENDANTS' custody and control. DEFENDANTS object that the RELEVANT TIME
            4 PERIOD and AB 900 are inconsistent and confusing. As defined by PLA/NTIFFS, AB 900
            5 "means the Public Safety and Offender Rehabilitation Services Act of 2007, signed, into law by
           6 Governor Arnold Schwarzenegger on May 2, 2007." (Req. for Production 5:1-2.) RELEVANT
           7 TIME PERIOD, however, is defined by PLAINTIFFS as "the time period from April 4, 2006..
           8 until the present." (Req. for Production 4:12-14.) To resolve this inconsistency, DEFENDANTS

          9 interpret RELEVANT TIME PERIOD for the purposes of this request to mean the time period
        10 from May 2, 2007 to the present.
        11         Subject to and without waiving the foregoing objections, DEFENDANTS re•pond as
        12         follows:
        13               DEFENDANTS           will, in accordance with the rolling production described above, produce
     14           all responsive, non-privileged DOCUMENTS from the core group of individuals generated in the
     15           RELEVANT TIME PERIOD                as   understood by DEFENDANTS      on   the subject of studies or
    16            analyses of the effect of AB900 on medical and mental health care in PRISONS.
    17
    18            REQUEST FOR PRODUCTION NO. 27:
    19                 Any and all DOCUMENTS created during the RELEVANT TIME PERIOD that REFER or
    20           RELATE TO any measure(s) that YOU have initiated or considered in order to reduce prison
    21           populations, other than the measures set forth in AB900.
   22            RESPONSE TO REQUEST FOR PRODUCTION NO. 27:
   23                   DEFENDANTS        object that the request seeks DOCUMENTS protected from disclosure by
   24            the attorney-client privilege, attorney work product privilege, deliberative process privilege, self-.
   25            critical analysis privilege, and official information privilege. DEFENDANTS object that the
   26            request seeks DOCUMENTS that infringe on the privacy rights of third parties.
   27            DEFENDANTS           object that the inclusion of the phrases "initiated or considered" and "any
   28            measure(s)" renders the request ambiguous, overbroad, and undulyburdensome as PLAINTIFFS
                 Defs.' Resp. to Pls.'                                           Coleman v. Schwarzenegger, Case No. 90-0520
                 Req. for Produc. of Does., Set One                                  Plata v. Schwarzenegger, Case No. 01-135,1
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                        have not defined the parameters of the request. DEFENDANTS              object to this request which
                 2      encompasses plans considered, but not adopted, which are subject to the deliberative process
                 3     privilege. DEFENDANTS object that the requested DOCUMENTS to the extent they relate to
              4        measures already initiated to address California's prison population are equally available to

              5        PLAINTIFFS as these measures have already been disclosed in both Plata and Coleman.
              6             Subject to and without waiving the foregoing objections, DEFENDANTS respond as
             7         follows:
             8              DEFENDANTS will, in accordance with the rolling production described above, produce
             9         all responsive, non-privileged DOCUMENTS from the core
                                                                              group of individuals generated in the
         10            RELEVANT TIME PERIOD regarding measures already initiated to address California's prison
        11            population.
        12
        13            REQUEST FOR PRODUCTION NO. 28:
        14                 Any and all DOCUMENTS created during the RELEVANT TIME PERIOD, that RELATE
        15            TO any contingency plans, other than population reducing measures, that YOU have considered
        16            initiating when, in YOUR estimation, the PRISONS reach their MAXIMUM CAPACITY.
    17                RESPONSE TO REQUEST FOR PRODUCTION NO. 28:
    18                     DEFENDANTS         object that the request seeks DOCUMENTS protected from disclosure by
    19               the attorney-client privilege, attorney work product privilege, deliberative
                                                                                                  process privilege, self-
    2O               critical analysis privilege, and official information privilege. DEFENDANTS object that the
    21               request seeks DOCUMENTS that infringe on the privacy rights of third parties. DEFENDANTS
   22                object that the inclusion of the phrases "contingency plans," "population reducing measures," and
   23                "considered initiating" renders the request ambiguous, overbroad, and unduly burdensome
                                                                                                                   as
   24 PLAINTIFFS have not defined the parameters of the request. DEFENDANTS also object
                                                                                        to
   25        [i disclosing detailed information regarding the architectural specifications, renderings, blueprints,
   26 I infrastructure layout, building footprints, points of access, and construction design details

   27                because release of this information could jeopardize the safety of imnates, custody staff,
                                                                                                                         and/or
   28             the public. DEFENDANTS               object to this request which encompasses plans considered,, but not
                  Defs.' Resp. to Pls.'                                              Coleman v. Schwarzenegger, Case No. 90-0520
                  Req. for Produc. of Does., Set One                                     Plata v. Schwarzenegger. Case No. 01-1351
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                       adopted, which are subject to the deliberative process privilege. DEFENDANTS object that the
                 2     requested DOCUMENTS to the extent they relate to measures actually initiated or adopted to
                 3     address prison capacity are equally available to PLAINTIFFS as these
                                                                                             measures have al•'eady
                 4     been disclosed in both Plata and Coleman. DEFENDANTS              object that the term MAXIMUM
              5        CAPACITY is argumentative, speculative, and improperly calls for expert testimony.
              6             Subject to and without waiving the foregoing objections, DEFENDANTS respond as
             7         follows:
             8              DEFENDANTS will, in accordance with the rolling production described above, produce
             9         all responsive, non-privileged DOCUMENTS from the core
                                                                              group of individuals generated in the
         10           RELEVANT TIME PERIOD regarding measures actually initiated adopted to address prison
                                                                                or

        11            capacity, which in DEFENDANTS' estimation will not jeopardize the safety of inmates, custody
        i2            staff, and/or the public.
        13
        14            REQUEST FOR PRODUCTION NO. 29:
        15                 Any and all DOCUMENTS created during the RELEVANT TIME PERIOD, that RELATE
        16            TO YOUR      the DEPARTMENT'S determination of the MAXIMUM CAPACITY of
                                  or
                                                                                             any
     17               PRISON or the prison system as a whole.
    18               RESPONSE TO          REQUEST FOR PRODUCTION NO. 29:
    19                      DEFENDANTS object that the request seeks DOCUMENTS protected from disclosure by
    20               the attorney-client privilege,-attorney work product privilege, deliberative
                                                                                                  process privilege, sel f.-
    21               critical analysis privilege, and official information privilege. DEFENDANTS Object that
                                                                                                                  the
    22               request seeks DOCUMENT S that infringe on the privacy rights of third parties. DEFENDANTS
   23                object that the inclusion of the undefined word "determination" renders the request ambiguous,
   24                overbroad, and unduly burdensome as PLAINTIFFS have not defined the parameters of the
   25                request. DEFENDANTS also object to disclosing detailed information regarding the
   26                architectural specifications, renderings, blueprints, infrastructure layout, building footprints,
   27             points of access, and construction design details because release of this information could
   28             jeopardize the safety of inmates, custody staff, and/or the public. DEFENDANTS object to this
                  Def.s.' Resp. to PIs.'                                           Coleman v. Schwarzenegger, Case No. 90-0520
                  Reqr for Produc. of Docs., Set One                                   Plata v. Schwarzenegger, Case No. 01-1351
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                    request which encompasses positions considered, but not adopted, which are subject to the
              2     deliberative process privilege. DEFENDANTS      object that the requested DOCUMENTS to the
             3      extent they relate to CDCR's final determination regarding prison capacity are equally available

             4      to PLAINTIFFS as this determination has already been disclosed in both Plata and Coleman.

             5      DEFENDANTS object that the term MAXIMUM CAPACITY is argumentative, speculative, .and
             6      improperly calls for expert testimony.
             7           Subject to and without waiving the foregoing objections, DEFENDANTS respond as
             8      follows:
          9               DEFENDANTS            will, in accordance with the rolling production described above, produce
        10          all responsive, non-privileged DOCUMENTS from the core group of individuals generated in the
        11          RELEVANT TIME PERIOD   regarding CDCR's final determination regarding prison capacity,
     12            which in DEFENDANTS' estimation will not jeopardize the safety of inmates, custody staff,
     13            and/or the public.
     14
     15            REQUEST FOR PRODUCTION NO. 30:
     16                  Any and all DOCUMENTS created during the RELEVANT TIME PERIOD, that refer or
    17             RELATE TO any TIMETABLE for obtaining the funding to implement AB                       900, INCLUDING
    18             any DOCUMENTS RELATING TO YOUR progress in meeting such a TIMETABLE.
    19             RESPONSE TO           REQUEST FOR PRODUCTION NO. 30:
    20                   DEFENDANTS         object that the request seeks DOCUMENTS protected from disclosure by
    21             the attomey-client privilege, attorney work product privilege, deliberative process privilege, self-
    22             critical analysis privilege, and official information privilege. DEFENDANTS object that the
    23            request seeks DOCUMENTS that infringe on the privacy rights of third parties. DEFENDANTS
    24            object that the inclusion of the defined word "INCLUDING" renders the request ambiguous,
   25             overbroad, and unduly burdensome as PLAINTIFFS have not defined the parameters of the
   26             request• DEFENDANTS object to this request because it is the subject of pending litigation
   27             brought by Taxpayers for Improving Public Safety (TIPS). DEFENDANTS object that the
   28             request seeks DOCUMENTS outside of DEFENDANTS' custody and control. DEFENDANTS
                  Defs.' Resp. to Pls.'                                            Coleman v. Schwarzenegger, Case No. 90-0520
                  Req. for Produc. of Docs., Set One                                   Plata v. Schwarzenegger, Case No. 0 !- 13.51
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                   object that the RELEVANT TIME PERIOD and AB 900 are inconsistent and confusing. As
             2     defined by PLAINTIFFS, AB 900 "means the Public Safety and Offender Rehabilitation Services
             3     Act of 2007, signed into law by Governor Arnold Schwarzenegger on May 2, 2007."                 (Req. for
          4        Production 5:1-2.) RELEVANT TIME PERIOD, however, is defined by PLAINTIFFS                         as   "the
          5        time period from April 4, 2006... until the present."      (Req. for Production 4:12-14.) To resolve
         6         this inconsistency, DEFENDANTS       interpret RELEVANT TIME PERIOD for the purposes of
          7        this request to mean the time period from May 2, 2007 to the present.
          8              Subject to and without waiving the foregoing objections, DEFENDANTS respond as
          9       follows:
     10                  DEFENDANTS           will, in accordance with the rolling production described above, produce
     11           all responsive, non-privil.eged DOCUMENTS from the core group of individuals generated                    n   the
     12           RELEVANT TIME PERIOD                as   understood by DEFENDANTS which reflect the timetable for
     13           obtaining funding to implement AB 900.
     14
     15           REQUEST FOR PRODUCTION NO. 31:
    16                  Any and all DOCUMENTS created during the RELEVANT TIME PERIOD that REFER or
    17            RELATE TO any consideration of placing limitations on the Prison population.
    18            RESPONSE TO REQUEST FOR PRODUCTION NO. 31:
    19                  DEFENDANTS        object that the request seeks DOCUMENTS protected from disclosure by
    20           the attorney-client privilege, attorney work product privilege, deliberative process privilege, self-
    21           critical analysis privilege, and official information privilege. DEFENDANTS object that the
    22           request seeks DOCUMENTS that infringe on the privacy rights of third parties. DEFENDANTS
    23           object that the inclusion of the phrases "any consideration" and "placing limitations" renders the
    24           request ambiguous, overbroad, and unduly burdensome as PLAINTIFFS have not defined thc
   25            parameters of the request. DEFENDANTS object to this request which encompasses measures
   26            considered, but not adoptedl which are subject to the deliberative process privilege.
   27            DEFENDANTS object that the requested DOCUMENTS to the extent they relate to measures
   28

                 Defs.' Resp. to Pls.'                                           Coleman v. Schwar•enegger, Case No. 90-0520
                 Req. for Produc. of Docs., Set One                                  Plata v. Schwarzenegger, Case No. 01-135
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                         actually initiated or adopted are equally available to PLAINTIFFS as these measures have already
                 2      been disclosed in both Plata and Coleman.
                 3             Subject to and without waiving the foregoing objections, DEFENDANTS respond as
             4          follows:
             5                DEFENDANTS will, in accordance with the rolling production described above, produce
             6          all responsive, non-privileged DOCUMENTS from the core group of individuals generated in the
             7          RELEVANT TIME PERIOD-which reflect measures actually initiated or adopted to address the
             8          size of CDCR's prison population.
             9
        10             REQUEST FOR PRODUCTION NO. 32:
                             Any and all DOCUMENTS created during the RELEVANT TIME PERIOD that REFER or
        12             RELATE TO any consideration of the effects of sentencing reform on the PRISON population.
        13             RESPONSE TO REQUEST FOR PRODUCTION NO. 32:
        14                   DEFENDANTS        object that the request seeks DOCUMENTS protected from disclosure by
        15            the attorney-client privilege, attorney work product privilege, deliberative
                                                                                                   process privilege, self-
        16            critical analysis privilege, and official information privilege. DEFENDANTS object that the
    17                request seeks DOCUMENTS that infringe on the privacy rights of third parties. DEFENDANTS.
    18                object that the inclusion of the phrases "any consideration" and" sentenclng reform renders the
    19                request ambiguous, overbroad, and unduly burdensome as PLAINTIFFS have not defined the
    20                parameters of the request. DEFENDANTS object to this request which encompasses measures
    21                considered, but not adopted, which are subject to the deliberative process privilege.
   22                 DEFENDANTS object that the request is neither relevant to any claim or defense asserted in the
   23                PROCEEDING           nor   reasonably calculated to lead to the discovery of admissible evidence. The
   24                Three-Judge Panel does not possess the authority to order the State 0f California to adopt
   25                sentencing reform under the doctrine of separation of powers, as well as precepts of federalism.
   26                Moreover, although the Three-Judge Panel has jurisdiction over the parties in the
   27                PROCEEDING, PLAINTIFFS in this matter have already been sentenced and are incarcerated.
   28                The Three-Judge Panel's jurisdiction does not extend to those individuals who
                                                                                                     may possibly be
                     Defs.' Resp. to Pls.'                                           Coleman v. Schwarzenegger, Case No. 90-0520
                     Req. for Produc. of Does., Set One                                  Plata v. Schwarzenegger, Case No. 01-1351
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                         sentenced in the future.  Moreover, neither PLAINTIFFS nor the Coleman class members have
                  2     pleaded a cause of action challenging the constitutionality of California's sentencing scheme.
                  3     Therefore, the issue is not properly before the Three-Judge Panel. Unless there is actual
                                                                                                            an        case
              4         or controversy regarding California's sentencing statutes, neither the Three-Judge Panel
                                                                                                                  nor the
              5         Federal Courts possess jurisdiction to consider the matter.
              6
              7         REQUEST FOR PRODUCTION NO. 33:
              8                 Any and all DOCUMENTS created during the RELEVANT TIME PERIOD that REFER
                                                                                                                                        or
             9          RELATE TO any consideration of the effectsof sentencing commission
                                                                                           on the PRISON

         10            population.
         11            RESPONSE TO REQUEST FOR PRODUCTION NO. 33:
        12                  DEFENDANTS          object that the request seeks DOCUMENTS protected from disclosure by
        13             the attorney-client privilege, attorney work product privilege, deliberative •rocess privilege,
                                                                                                                       self-
        14             critical analysis privilege, and official information privilege. DEFENDANTS object that the
        15             request seeks DOCUMENTS that infringe on the privacy rights of third parties. DEFENDANTS
        16             object that the inclusion of the phrases "any consideration" and "effects of sentencing
     17                commission" renders the request ambiguous, overbroad, and unduly burdensome
                                                                                                           as
    18                PLAINTIFFS have not defined the parameters of the request. DEFENDANTS        object to this
    19                request which encompasses measures considered, but not adopted, which are subject to the
    2O                deliberative process privilege. DEFENDANTS object that the request is neither relevant
                                                                                                              to any
    21                claim or defense asserted in the PROCEEDING            nor   reasonably calculated to lead to the
    22                discovery of admissible evidence. The Three-Judge Panel does not possess the authority to order
   23                 the State of California to empanel a sentencing commission under the doctrine of separation
                                                                                                                                 of
   24                 powers,    as                           Moreover, although the Three-Judge Panel has
                                      well as precepts of federalism.
   25              jurisdiction over the parties in the PROCEEDING, PLAINTIFFS in this matter have already been
   26                 sentenced and are incarcerated. The Three-Judge Panel's jurisdiction does not extend
                                                                                                           to those
   27              individuals who may possibly be sentenced in the future.
                                                                          Moreover, neither PLAINTIFFS nor
   28             the Coleman class members have pleaded a cause of action challenging the constitutionality
                                                                                                             of
                  Defs.' Resp. to Pls.'                                                 Coleman v. Schwarzenegger, Case No. 90-0520
                  Req. for Produc. of Docs., Set One                                        Plata y. Schwarzenegger, Case No. 01-1351
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                  1     California's sentencing scheme. Therefore, the issue is not properly before the Three-Judge
              2          Panel. Unless there is an actual case or controversy regarding California's sentencing statutes,
              3         neither the Three-Judge Panel nor the Federal Courts possess jurisdiction to consider the matter.
              4

              5         REQUEST FOR PRODUCTION NO. 34:
             6                Any and all DOCUMENTS created during the RELEVANT TIME PERIOD that REFER or
             7          RELATE        TO any consideration of the effects of any changes in parole policies on the PRISON
             8          population.
          9             RESPONSE TO REQUEST FOR PRODUCTION NO. 34:
         10                   DEFENDANTS         object that the request seeks DOCUMENTS protected from disclosure by
        11              the attorney-client privilege, attorney work product privilege, deliberative process privilege, self'-
        12              critical analysis privilege, and official information privilege. DEFENDANTS object that the
        13             request seeks DOCUMENTS that infringe on the privacy rights of third partie•s. DEFENDANTS
     14                object that the inclusion of the phrases "any consideration," "effects of any changes," and "parole
     15                policies" renders the request ambiguous, overbroad, and unduly burdensome as PLAINTIFFS
     16                have not defined the parameters of the request. DEFENDANTS object to this request which
     17                encompasses measures considered, but not adopted, which are subject to the deliberative process
     18                privilege.
     19                       Subject to and without waiving the foregoing objections, DEFENDANTS respond as
    20                 follows:
    21                       DEFENDANTS           will, in accordance with the rolling production described above, produce
    22                all responsive, non-privileged DOCUMENTS from the core group of individuals generated in the
    23                RELEVANT TIME PERIOD which relate to the effect changes in parole policies actually
    24                initiated or adopted will have on the PRISON population.
    25
    26                REQUEST FOR PRODUCTION NO. 35:
   27                       Any and all DOCUMENTS that REFER or RELATE TO the comprehensive analysis of
   28                 existing CDCR beds, programming space, clinical/mental health space, infrastructure capacities,
                      Defs.' Resp. to Pls.'                                           Coleman v. Schwarzenegger, Case No. 90-0520
                      Req. for Produc. of Docs., Set One                                  Plata v. Schwarzenegger, Case No. 01-1351
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                  1     and projected mitigation referenced at 2:6-8 of the Declaration Of Scott Keman In Support Of
              2         Defendant's Supplemental Brief In Opposition To Plaintiffs' Motion For Referral To A Three
              3         Judge Panel, filed on May 24, 2007 in Coleman v. Schwarzenegger.
              4         RESPONSE TO REQUEST FOR PRODUCTION NO. 35:
              5                       object that the request seeks DOCUMENTS protected from disclosure by
                             DEFENDANTS
            6 the attorney-client privilege, attorney work product privilege, deliberative
                                                                                           process privilege, self•'
           7 critical analysis privilege, and official information privilege. DEFENDANTS object that the

           8 request seeks DOCUMENTS that infringe on the privacy rights of third parties. DEFENDANTS
           9 object that the request is overbroad and unduly burdensome because it is not specific
                                                                                                      as to time.
         10 In accordance with DEFENDANTS' Responses to Requests for Production No. 1, 3, 4, 5, 6, 7, 84
         11            9, 10, 11, 12, 13, 14, 15, 16, 17, 18, 19, 20, 21, 22, 23, 24, 25, 26, and 30, DEFENDANTS
        12             interpret the request to include a RELEVANT TIME PERIOD limitation consisting of the time
        13             period from May 2, 2007 to the present. DEFENDANTS object that the requested
        14             DOCUMENTS        are   equally available to PLAINTIFFS as these DOCUMENTS have already been
        15             produced to PLAINTIFFS in Coleman.
        16                  Subject to and without waiving the foregoing objections, DEFENDANTS respond as
        17            follows:
    18                     DEFENDANTS will, in accordance with the rolling production described above, produce
    19                all responsive, non-privileged DOCUMENTS from the core group of individuals generated in the
    20                RELEVANT TIME PERIOD as understood by DEFENDANTS which reflect existing CDCR
    21                beds, programming space, clinical/mental health space, and infrastructure capacities.
   .22

   23                 REQUEST FOR PRODUCTION NO. 36:
   24                      Any and all DOCUMENTS that REFER or RELATE TO the analysis of additional capacity
   25                 available within the state referenced at 2:8-12 of the Declaration Of Scott Kernan In Support Of
   26             Defendant's Supplemental Brief In Opposition To Plaintiffs' Motion For Referral To A Three
   27             Judge Panel, filed on May 24, 2007 in Coleman v. Schwarzenegger.
   28

                  Defs.' Resp. to Pls.'                                         Coleman v. Schwarzenegger, Case No. 90-0520
                  Req. for Produc. of Does., Set One                                Plata v. Schwarzenegger, Case No. 01 1351
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                RESPONSE TO REQUEST FOR PRODUCTION NO. 36:
          2           DEFENDANTS         object that the request seeks DOCUMENTS protected from disclosure by
          3     the attomey-client privilege, attorney work product privilege, deliberative process privilege, self-
          4     critical analysis privilege, and official information privilege. DEFENDANTS object that the
          5     request seeks DOCUMENTS that infringe on the privacy rights of third parties. DEFENDANTS
          6     object that the request is overbroad and unduly burdensome because it is not specific as to time.
          7     In accordance with DEFENDANTS' Responses to Requests for Production No. 1, 3, 4, 5, 6, 7, 8,

          8     9, 10, 11, 12, 13, 14, 15, 16, 17, 18, 19, 20, 21, 22, 23, 24, 25, 26, 30, and 35, DEFENDANTS
         9     interpret the request to include a RELEVANT TIME PERIOD limitation consisting of the time
     10        period from May 2, 2007 to the present. DEFENDANTS object that the requested
     11        DOCUMENTS are equally available to PLAINTIFFS as these DOCUMENTS have already been
    12         produced to PLAINTIFFS in Coleman.
    13               Subject to and without waiving the foregoing objections, DEFENDANTS respond as
    14         follows:
    15               DEFENDANTS       will, in accordance with the rolling production described above, produce
    16         all responsive, non-privileged DOCUMENTS from the core group of individuals generated in the
    17         RELEVANT TIME PERIOD                as   understood by DEFENDANTS which reflect California's prison
    18         capacity.
    19
    20        REQUEST FOR PRODUCTION NO. 37:
   21              Any and all memoranda and/or other COMMUNICATIONS that REFER or RELATE TO
   22         any changes or clarifications of parole discharge policies.
   23         RESPONSE TO         REQUEST FOR PRODUCTION NO. 37:
   24                DEFENDANTS object that the request seeks DOCUMENTS protected from disclosure by
   25         the attorney-client privilege, attorney work product privilege, deliberative process privilege, self:
   26         critical analysis privilege, and official information privilege. DEFENDANTS object that the
   27         request seeks DOCUMENTS that infringe on the privacy fights of third parties. DEFENDANTS
   28         object that the inclusion of the phrases "any changes or clarifications" and "parole discharge
              Defs.' Resp. to Pls.'                                            Coleman v. Schwarzenegger, Case No. 90-0520
              Req. for Produc. of Docs., Set One                                   Plata v. Schwarzenegger, Case No. 01-1351
                                                                    45
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              1     policies" renders the request ambiguous, overbroad, and unduly burdensome as PLAINTIFFS
          2         have not defined the parameters of the request. DEFENDANTS              object to this request which
          3         encompasses measures considered, but not adopted, which are subject to the deliberative process
          4        privilege. DEFENDANTS object that the request is overbroad and unduly burdensome because
          5        it is not specific as to time. In accordance with DEFENDANTS' Responses to Requests for
          6        Production No. 1, 3, 4, 5, 6, 7, 8, 9, 10, 11, 12, 13, 14; 15, 16, 17, 18, 19, 20, 21, 22, 23, 24, 25,
          7        26, 30, 35, and 36, DEFENDANTS interpret the request to include a RELEVANT TIME
          8        PERIOD limitation consisting of the time period from May 2, 2007 to the present.
         9                Subject to and without waiving the foregoing objections, DEFENDANTS respond as
     10 follows:
     11                   DEFENDANTS           will, in accordance with the rolling production described above, produce
     12            all responsive, non-privileged DOCUMENTS from the core group of individuals generated in th6
     13            RELEVANT TIME PERIOD                as   understood by DEFENDANTS which relate to actually initiated
     14            or   adopted changes or clarifications of parole discharge policies.
    15
    16             REQUEST FOR PRODUCTION NO. 38:
    17                  Any and all memoranda and/or other COMMUNICATIONS that REFER or RELATE TO
    18             any changes and/or clarifications of parole revocation policies.
    19            RESPONSE TO            REQUEST FOR PRODUCTION NO. 38:
    20                   DEFENDANTS         object that the request seeks DOCUMENTS protected from disclosure by
    21             the attorney-client privilege, attorney work product privilege, deliberative process privilege, self-
    22             critical analysis privilege, and official information privilege. DEFENDANTS object that the
    23            request seeks DOCUMENTS that infringe on the privacy rights of third parties. DEFENDANTS
   24             object that the inclusion of the phrases "changes and/or clarifications" and "parole revocation
   25             policies" renders the request ambiguous, overbroad, and unduly burdensome as PLAINTIFFS
   26             have not defined the parameters of the request. DEFENDANTS object to this request which
   27             encompasses measures considered, but not adopted, which are subject to the deliberative process
   28             privilege. DEFENDANTS object that the request is overbroad and unduly burdensome because
                  Defs.' Resp. to Pls.'                                            Coleman v. Schwarzenegger, Case No. 90-0520
                  Req. for Produc. of Docs., Set One                                   Plata v. Schwarzenegger, Case No. 01-1351
                                                                        46
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              1     it is not specific as to time. In accordance with DEFENDANTS'              Responses to Requests for
          2         Production No.      1, 3, 4, 5, 6, 7, 8, 9, 10, 11, 12, 13, 14, 15, 16, 17, 18, 19, 20, 21, 22, 23, 24, 25,
          3         26, 30, 35, 36, and 37, DEFENDANTS interpret the request to include a RELEVANT TIME
          4         PERIOD limitation consisting of the time          period from May 2, 2007 to the present.
          5                Subject to and without waiving the foregoing objections, DEFENDANTS respond as
          6        follows:
          7               DEFENDANTS           will, in accordance with the rolling production described above, produce
          8        all responsive, non-privileged DOCUMENTS from the core group of individuals generated in the
          9        RELEVANT TIME PERIOD                 as   understood by DEFENDANTS which relate to actually initiated
     10            or   adopted changes or clarifications of parole revocation policies.
     11

     12
                   Dated: October 25, 2007                                    EDMUND G. BROWN JR.
     13
     14                                                                 By:•••Attorney General of the State of California

     15                                                                            CHAR/1LES J. ANTONEN
                                                                                   Deput• Attorney General
     16                                                                           Attorneys for Defendants
     17
     18
     19
    20
    21
    22
    23
    24

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    26
    27
    28
                  Defs.' Resp. to Pls.'                                              Coleman v. Schwarzenegger, Case No. 90-0520
                  Req. for Produc. of Docs., Set One                                     Plata v. Schwarzenegger, Case No. 01-1351
                                                                         47
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            Case 2:90-cv-00520-KJM-SCR                            Document 2914-2             Filed 08/01/08    Page 49 of 64




                              EDMUND O. BROWN JR.
                              Attorney G.eneral of the State of California
                      2       DAVID S. CHANEY
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                              Attorneys for Defendants
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                    11                                     IN THE UNITED STATES DISTRICT COURT
                    12                                  FOR THE EASTERN DISTRICT OF CALIFORNIA
                    13                                AND THE NORTHERN DISTRICT OF CALIFORNIA
                    14                    UNITED STATES DISTRICT COURT COMPOSED OF THREE JUDGES
                    15                       PURSUANT TO SECTION 2284, TITLE 28 UNITED STATES CODE
                    16
                    17         RALPH      COLEMAN, et al.,                                        2:90-ev-00520 I,KK Y?M P
                    18                                                            Plaintiffs,     THREE JUDGE COURT
                 19
                20             ARNOLD        SCI:IVCARZENEGGER, et al.,
                21                                                              Defendants.
                22
                               MARCIA.NO         PLATA, et al.,                                   No. C 01-1351 "]'EH
                23
                24
                                                                                  Plaintiffs,     THREE dUDGE COURT
                                                                                                  DECLARATION OF
                25            ARNOLD        SCHWARZENEGGER, et al.,                               CYNTHIA A. RA.DAVSKY
                9.6
                                                                                                  REGARDING 2tLIV•ILEGED
                                                                                Defendants.       DOCUMENTS
                27                    I, Cynthia A. Radavsky, declare:
f•:•            28                    1. I am employed in the position of Deputy Director of Long.Term Care: Se:.'viees
                                                                                                                        with

                             Decl. of Cindy Radavsky Re: Privil•god Documenko
1B/25/2BB7        15:58        9166536376                               LTCS                                    PAGE      83/85

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                  the Department of Mental Health (DMI4) of the Health and Human Services Agency,
                                                                                                      have

              2   been employed by the Department of Mental Health since October 1995 and h•v • held the
              3 following positions: Program Director at Napa State Hospital from 1995 to 1998, Assistant
              4 Deputy Dir.¢ctor of Long Term Care Services from 1998 to 2006, and Deputy Directar of L,ong
              5    Term Care Services from 2006 to present.
              6             2. I have personal knowledge of the fac•s stated in this d•laration and il'call• to •¢stify
              7    upon those facts would do .so competently.
              8           3. In my position with DMH, I am familiar with the missions, policies, staffing, and
              operations of each of the state hospitals. I am responsible for overseeing the. ir patier•t care
              9
          10 provided to CDCR inmate-patients at Atascadzro State Hospital, Coalinga State Ho,,•pital and
          I1 Patton State Hospital. I am also familiar with the missions, policies, staffing a.nd operations of
           12 DMH. programs within Catitbmia Department of Correction and gehabiiitatioa CDCR)
          13 facilities, such as Vaeaville Psychiatric Program at California Medical Facili•, and £alinas
          14 Valley Psychiatric Program at Salinas Valley State Prison.
          15            4. I am responsible for ensuring DMH provides appropriate responses; t,:• and complies
          16 with thosc Coleman court orders applicable to DMH. I worked with a multi-agency task force in
          17 preparing and developing Defendants' August 2007 mental health bed plan. ! al •o participated in
              the development of Defendants' Interim Mental Health Bed Plan, Defendants L¢ ng-•,ange
          19 Mental ]4ealth Bed Plan of October 2006, and Amended Long-Range Menta! [-t•:alth Plan of
          20 December 2006, I am participated in the development of the pay parity plans a]: preyed by this
         21 Court for DMI-I clinicians. also. participated in developing the DMH respon.*,'¢ to ¢aurt orders
         22 for a staffr¢¢ruitment plan, an activation plan for Atascadero State Hospital, •. f•:asibility plan
         23 for Coalinga Stat• Hospital. Each of these referenced documents have been filed with the
         24 Coleman court and provided to counsel. [ oversee the preparation and implem •ntatioa of the
         25 operating interageaey agreements and memoranda of understanding between ])]•H •nd CDCR
         26 to provide acute and intermediate care inpatient beds to CDCR inraates. Thos# interagency
         27 documents and memoranda of understanding have been submitted to Special M• ster Keating and
         28       Plaintiffs' counsel for review.

                                                                                                                          -I
                                                                                                                          •-•.




                  Duel. of Cindy   Radavsky R.¢: Privilog¢4 Documents
                                                                         2
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     1          5. I am also responsible for DMWs responses to other litigation matters, ran•ging from
     2   habeas petitions filed by patients to the action brought by the United States Departm.mt of
     3    Justice against DMH under the Civil Rights of Institutionalized Persons Act (known as the
          CRIPA case).         6. have reviewed Plaintiffs' Request for Production ot'.Docu.ments. Set
       One, propounded in the Three Judge Court proceeding involving Coteman v. 6'c/.wa;Tenegger,
     6 Case No. CIV $90-0520 LKK JFM P, and Plata v, Schwarzenegger, Case No. C01-] 351 .TEH. I
     7    am   familiar with the documents generated by the Department of Mental Healt h. xvhieh may be
     8  responsive to Plaintiffs' requests. Certain items within those categories ofdo•:uments are
      9 privileged.
                 7. in my capacity as Deputy Director of Long-Term Care Services for DMH, I am
    ll familiar with this agency's analysis, regulations, policies, praetlces, and procedures :oncerning
    12 its involvement with prisons of the California Department of Corrections and IP,• habilitation. In
    13 addition, larn familiar wlth, and an instrumental participant in, development of:inch analysis,
        policies and procedures. am also familiar with the process associated with the derivation of
    15 the budget and the development of draft budget change proposals for internal :'e, dew and
    16    revision and for ultimate submission to the Office of the Governor for final approval..
    17              Policy, planning and procedural documents are drafted, revised, discussed, debated
                   8.
     18 and redrafted before finalization. Although the final product will be produced, DM]-I maintains
     19 as privileged those drafts or other documents reflecting internal analysis, deliberation and
    20 discussion prior to adoption of the final product. Such documents include patier•t planning
    21 committee notes, draIt budget change proposals, legal opinions prepared by in-house; counsel for
    22 DMH staff, legal memoranda prepared relative to ongoing litigation (such as thi•; ca.,;e and the
   23 CRIPA case), position papers and drat• cost summaries.
   24           9. When requested, DMTI takes an advisory role relative to treatment of CI)2R inmate-
   25 patients in advance of adoption of plans, policies and procedures. These functio.as
                                                                                              are performed
   26 on a continuing basis. In addition, modifications to policies and procedures
                                                                                       ma• be developed
   27 through self-evaluations conducted internally. Information gathered and derived for
                                                                                                purposes of
        policy planning and analysis is considered confidential and is maintained in a ,mafid•ntial

         Dccl, of Cindy R.=davsky Re: Privileged Docl•rrlcnts
                                                                 3
1"8/25/21387                  &5:58       9566536376                                 LTCS                                         PAGE    85/85
      Case 2:90-cv-00520-KJM-SCR                                     Document 2914-2          Filed 08/01/08        Page 52 of 64




                    l manner. Finally, many of DMH's policies and procedures are derived based upoJ• budgetary and
                 2            fiscal information for which the Gover•or has final approval.
                                     10. I have caused documents in the possession of DMH to be provided to co,•nsel tbr the
                 4        i   Defendants .in response to Plaintiffs' Request for Production of Documents, Set One. These
                 5 documents include dratt unadopted planning documents, budget change propo •a. packages,
                 6 associated e-mails, documents developed to activate internal debate and analy•ds, official
                 7 information which is not made available to the public: and communications with DMH's staff
                   attorneys and the Attorney General's Office regarding pending and anticipated l!tigalion.
                 9         11, Many documents provided to counsel for Defendants are pre-dech•ional and bear on
               10             the formulation or exercise of DMH's judgment. These materials were part of the d,;liberative
               11             policy-making process which led to a final decision, or are leading to a future fittal ¢lecision,
               12             regarding DMH's budget, policies, procedures and treatment of CDCR. inmate-l:atients. Such
               13             documents include recommendations, draft documents, proposals, legal.torero ents, and other
               14             documents which reflect the personal opinion of the indi,zidual writers rather thzn the policy of
               15             DMH.
               16                     i.2. Many potentially responsive documents were derived from a compkx s•:t of
            17                treatment   considerations, judgments, projections, other rules and regulations, Im..• th,,. assessment
           18                 of possible solutions and recommendations. As such, these documents are pre,-•¢ci, ional,
           19                 deliberative, and should be .qh{•lded from discovery b•cause disclosure oftbe documents may
           20                 chill future beneficial discourse, self-evaluation and debate.   Furthermore, if' in• ivkluals
           21                 working with or for DMH fear that deliberative materials will be made public, ti•e release may
           22                 deter discussion and development of theories and ideas of benefit to the pubIic..
           :23                        I declare under penalty of perjury the foregoing is true .and correct.
           24                         Executed on                                    ,2007,,4n•ral.aento, C4•o•}ni•.          /

          26                                                                           k,. _D•E.uty Director, Long,ql•:rta Care Service
          27
                                                                                        •D•hrirnent of Mental H&allh
          28         I    SF2007200070"

                    III   Dccl, o¢ C•ndy P, adavsk-y P.¢:   Privileged Doeurn¢•t,•
Case 2:90-cv-00520-KJM-SCR                        Document 2914-2                     Filed 08/01/08    Page 53 of 64



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              Attorneys for Defendants
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    11.                                    IN..THE UNITED.STATES .DISTRICT .COURT
    12                                  FOR THE EASTERN DISTRICT OF CALIFORNIA
    13                                 AND THE NORTHERN DISTRICT OF CALIFORNIA
    14                     UNITED STATES DISTRICT COURT COMPOSED OF THREE JUDGES
    15                          PURSUANT TO SECTION               2284, TITLE 28 UNITED STATES CODE
    16
    17         RALPH       COLEMAN, et al.,                                              2:90-cv-00520 LKK JFM P
    18                                                                  Plaintiffs,      THREE JUDGE COURT
    19                            Vo

   20          ARNOLD           SCHWARZENEGGER,             et al.,

   21                                                                 Defendants.
   22
              MARCIANO PLATA, et al.,                                                    No. C 01-1351 TEH
   23
                                                                        Plaintiffs,      THREE JUDGE COURT
   24                      Vo
                                                                                         DECLARATION OF
   25         ARNOLD            SCHWARZENEGGER,             et al.,                      VINCENT P. BROWN
                                                                                         REGARDING PRIVILEGED
   26                                                                 Defendants.        DOCUMENTS
   27                 I, Vincent P. Brown, declare:
   28                 1.         i am the Chief Deputy Director of the California Department of Finance.


             Decl. of Vincent P. Brown Re: Privileged Documents
Case 2:90-cv-00520-KJM-SCR                            Document 2914-2         Filed 08/01/08          Page 54 of 64



                   In this role, my responsibilities include reviewing the Governor's Budget before its presentation
             2     to the Legislature.

          3                 2. As delegated to me by the Director of Finance,     act for the   Director as a member of
         4         the Public Works Board and the Pooled Money Investment Board. The Department of Finance
         5         also provides staff for both Boards. However, such entities are not parties to this litigation and,
         6        therefore, this declaration addresses only privileges pertinent to my role as Chief Deputy
         7        Director of the California Department of Finance.
         8                 3. I have personal knowledge of the facts stated in this declaration and if called to testify
         9        upon those facts would do so competently.
    I0                     4.    have reviewed Plaintiffs' Request for Production of Documents, Set One,
    /I..          propounded.in the.Three.Judge Court proceeding involving..Coleman .v.. Schwarzenegger, CIV
    12                          •,.
                                      JFM P, and Plata v. ocnwarzenegger,   C01-i35! TEH. i am familiar with the
    13            documents generated by the Department of Finance which may be responsive to Plaintiffs'
    14            requests. Certain items within those categories of documents are privileged.
    15                     5. in mycapacity as Chief Deputy •Director of the California Department of Finance,
    16           am familiar with the Department of Finance's analysis, policies, practices, and procedures

    17           concerning its involvement with the State budget process, in addition, I am familiar with, and an
    18           Instrumental participant in, development of such analysis, policies, practices and procedures.
    19           am also familiar with the process associated with the development of the budget and the

   20            development of draft budget change proposals by State agencies through an internal review
   21            process, the review and analysis of those documents by the Department of Finance, and
   22.           subsequent revisions for ultimate submission to the Office of the Governor for final approval.
   23                     6. Policy, planning and procedural budget documents are drafted, revised, discussed,
   24            debated and redrafted before finalization. Final budget documents have been produced in these
   25            cases   and will be provided in response to the Request for Production of Documents. In addition,
   26            final budget documents are published on Defendants' website and so are          equally available to
   27            Plaintiffs. The Department of Finance maintains as privileged those documents reflecting
   28            internal analysis, deliberation and discussion prior to adoption of the Governor's budget

                 Decl. of Vincent P. Brown Re: Privileged Documents
                                                                      2
Case 2:90-cv-00520-KJM-SCR                       Document 2914-2       Filed 08/01/08        Page 55 of 64




             proposal, including: draft budget change proposals, forms containing internal analysis and
        2    summation of submitted draft budget change proposals, conference committee notes, position.
        3    papers, internal communications and draft cost summaries.
        4             7. The Department of Finance takes an advisory role relative to the budget in advance of
        5    the appropriation of funds by the Legislature which supports the activities of, and the adoption
        6    of, policies, procedures and practices for State agencies. The Department of Fin.ance's activities
        7     performed on a continuing basis. Modifications to Department of Finance policies, practices
             are

       8 and procedures are developed through self-evaluations conducted internally: Informatio'n
       9   athered and derived for purposes of this process is considered confidential and is maintained in
     10 a confidential manner. Finally, many of the Department of Finance's policies and procedures are
    l    .deri•ed from budgetary and fiscal information for.which the Governor has final approval.
     12           8. Those privileged and non-privileged documents in the possession of the Department
     13 of Finance that are responsive to Plaintiffs' Request for Production of Documents, have been
    14 provided to Defendants' counsel. Those documents include briefing documents, agendas, draft

    15 91ans, draft budget change proposals, forms reflecting analysis of budget change proposals,
    16 associated e-mails, .official information which is not made available to the public,
    17 communications with the Office of the Governor and with other Defendants' executive levels,
    18 and communications with attorneys regarding pending and anticipated litigation.
    19           9. Many documents provided to counsel for Defendants are pre-decisional and bear on
   20 the formulation or exercise of the Department of Finance's fiscal policy-oriented judgment.
   21 These materials were part of the deliberative policy-making process which led to a final
   22 decision, or are leading to a future final decision, regarding budgetary policies which are the
   23       basis for all governmental activities, procedures, regulations, and amendments. Such documents
   24. include draft budget change proposals; analysis of such proposals; draft planning documents;
   25       attorney work-product; communications with the Office of the Governor, other Defendants'
   26       executive levels, and the Department of Finance's attorneys; and other documents which reflect
   27       the professional opinions and suggestions of individuals rather than the policy of a particular
   28       agency.

            Deck of Vincent P. Brown Re: Privileged Documents
Case 2:90-cv-00520-KJM-SCR                              Document 2914-2              Filed 08/01/08        Page 56 of 64



                                Many potentially responsive documents reflect complex calculations, judgments,
                                 10.
             2     projections, the application of existing laws and regulations, and the assessment of possible
             3     solutions and recommendations. As such, these documents are pre-decisional, deliberative, and
             4     should be shielded from discovery because disclosure of the documents may chill future
             5     discourse, self-evaluation and critical analysis. Furthermore, if individuals fear that deliberative
             6     materials will be made public, it may deter discussion and development of theories and ideas of
         7        benefit to the public.
         8                       I declare under penalty of   Perjury the foregoing is true and correct.
         9                       Executed on    • c.•_ _0,u •               2007, in Sacramento, California.
        10
        1L                                                                       YI.NCENT P. BRQWN
                                                                                 Chi-ef Deputy Director
    i2                                                                           California Department of Finance
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                 Decl. of Vincent P. Brown Re: Privileged Documents
Case 2:90-cv-00520-KJM-SCR                                    Document 2914-2                Filed 08/01/08   Page 57 of 64
              1      EDMUND G. BROWN JR.
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              2     DAVID S. CHANEY
                    Chief Assistant Attorney General
              3     FRANCES T. GRUNDER
                    Senior Assistant Attorney General
          4         ROCHELLE C. EAST                                                               RECEIVED
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                    Attorneys for Defendants
     10
     11                                               IN THE UNITED STATES DISTRICT COURT
     12                                           FOR THE EASTERN DISTRICT OF CALIFORNIA
     13                                          AND THE NORTHERN DISTRICT OF CALIFORNIA
     14                         UNITED STATES DISTRICT COURT COMPOSED OF THREE JUDGES
 15                                   PURSUANT TO SECTION 2284, TITLE 28 UNITED STATES CODE
 16
 17                  RALPH      COLEMAN, et al.,                                                  2:90-cv-00520 LKK JFM P
 18                                                                               Plaintiffs,     THREE JUDGE COURT
 19
 20                 ARNOLD            SCHWARZENEGGER, et al.,
21                                                                             Defendants.
22
                    MARCIANO             PLATA, et al.,                                          No. C 01-1351 TEH
23
                                                                                 Plaintiffs,     THREE JUDGE COURT
24                              .Vo
                                                                                                 DECLARATION OF SCOTT
25                 ARNOLD SCHWARZENEGGER,                            et al.,                     KERNAN REGARDING
                                                                                                 PRIVILEGED DOCUMENTS
26                                                                             Defendants.
27                         I, Scott Kernan, declare:
28                         1. I am the Chief Deputy Secretary of Adult Operations for the California Department of

                  Decl. of Scott Keman   re   Privileged Documents
•12512807                      9164422637                          CDCR                                         P•GE   82/84

     Case 2:90-cv-00520-KJM-SCR                         Document 2914-2        Filed 08/01/08      Page 58 of 64

                CorrectiOns a•,d Rehabilitation (CDCR).         I have been employed by CDCR since 1983.
                         2. I declare the following of my own knowledge and, if called as a witness, would
           3   competently testify to the following.
           4           3. In my capacity as Chief Deputy Secretary of Adult Operations, I am responsible for
               overseeing the management and operation of the adult correctional facilities within CDCR. I am
           6   familiar with CDCR's regulations, policies, practices, and procedures concerning out-of-state
           ?   transfers, prison site selection, prison capacity and bed planning as well as rules, regulations,
               policies and procedures regarding re-entry facilities and the prison parole system. I.n. addition,
               am fanailiar with, and an instrumental participant in,
                                                                       development of such policies and
      lO       procedures.
      11                 4. I have reviewed Plaintiffs' Requests for Production of Documents propounded in the
               Three Judge Court proceeding involving Coleman v. Schwarzenegger, CIV $90-0520 •LKK JFM
      13       P, and Plata v. 8chwarzenegger, C01-1351 TEH.              I am far•iliar with the documertts generated by
               this agency which may be responsive to Plaintiffs' requests. Certain items within those
         categories of documents are privileged.
      •6         5. Pla•.tiffs' request for production number 24 seeks any all documents w•ch refer or
      l?       relate to timetables for out of state tran.sfers. I am. familiar with those documents which were
               .prepared by a multidisciplinary team of attorneys, clinicians and correctional administrators
               within CDCR. Defendants have already produced to Plaintiffs the activation schedules for out-
      20       of-st•tte trartsfers indicating dates and numbers ofinraates to be transferred. Additional
                                                      However, the disclosure of specific information
               information is available on CDCR's website.
      22 regarding from where, when and by what mean.s individual inmates will be transferred out-of-
      •3       state raises grave security concerns for CDCR.       As inmates are at times transported on public
               roadways, the release of detailed irfformation regarding these transports may place the inmates,
               CDCR escort staffand the public at risk. Publication of security sensitive materials will threaten.
               the defendant's strong interest in preventing disclosure of information regarding security
               procedures. For these reasons, some doeummats reflecting out-of-state transfer inforrr•ation will
               not be disclosed. Defendants will provide descriptions of these privileged documents on

               De¢I, o•' Scott Kernan re Privileged Documents
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           1    Defendants' privilege log.
           2               6. Documents refleet•g arelaitectuml specifications, renderings, blueprints,
           3    infrastructure layout, building footpri!ats, points of access and cot•struetio• design details also
           4    implicate •eeurity concerns. Disclosure of suela information would compromise prison security
           5    and could endanger staff, ittmates and the,public. For th.ese reasons, these documents will not be
           6    disclosed. Defendants will provide desc.rptions of these privileged documents on Defendants'
       7        privilege log.
                           7. CDCR's policy, platmi•g and procedural documents are drafted, revised, discussed,
       9        debated and redratted before finalization. Finalized documents may address AB 900, sites, out-
      10        of-state transfers, beds, re-entry, parole and/or intake, policies.   Although the final product will
      11       be produced, many final documents have already been provided to Court and counsel in these
               cues    and are •squ•xxy •v•u•ut• tO •- mxtxux• on •.,•s,, • vu==n• w•u•;t•. However,
      13       maintains as privileged dratts or other documents reflecting internal analysis, deliberation and
      14       discussion prior to adoption of the final, product.
      15                      policies and procedures are derived and amended by committees of
                           8. CDCR's
      16 individuals who are assigned to evaluate or modify existing policies and procedures or derive
      17 new policies and procedures for this agency, Such policies address a wide array of issues,
      I8. including security, housing, tratasfers and population management. Committees function on a
      19 continuing basis. In addition, policies and procedures and modifications thereto are developed
     20 tl•.o•lgh self-evaluations and audits conducted internally and in conjunction with other
     21 institutions. Information gathered anld derived for pu•oses of policy planning and analysis is
     22 considered confidential aud is maintained in a eorffidential manner. Finally, many ofCDCR's
     23 polMes.and procedures are derived based upon budgetary and fiscal information for whict• the
     24 Governor and the Legislature have final approval.
     25           9. I am also familiar with the process associated with the derivatiort of the budget arid
     26 the development of draft budget change proposals for CDCR's internal review and revision
     27 which are s.ubmitted to the Department of Finance and ultimately submitted to the Offtce of the
     28 Governor for final approval.

               Deol. of Scott Kernan. re PrSvileged Doeument.•
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            10. I have provided documents in the possession of CDCRto counsel for the Defendants
    in response to Plaintiffs' Requests for Produotion of Documents. These documents in.elude
    Budget Change Proposal packages, associated e-mails, documents developed to prompt intertaal
    debate and analysis, official i•.formatior• whioh is not made available to the public,
    communications with the Office of the Goverlaor and with other Defendao.k•' exeoufive levels,
    and communications with CDCR's attorneys regarding proposed courses of action as well as
    pending arid anticipated litigation.
             11. Many documents p•'ovided to counsel for Defendants are pre-decisional and bear on
   the formulation or.exercise of CDCR's policy-oriented judgment. These materials were part of
   the deliberative policy-making process which led to a final decision, or are leading to a future
    finN. decision, regarding CDCR's policies, procedures, regulations, or amendments. Such
    documer, ts           •co.....,,endat,,,ns,
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                                          l.,   .,..'aft
                                                d        doc,,•.en•, nr•nnsnl'•- •na!ysis, legal ¢o_mments, and
                                                                    r'-r


    other documents which reflectthe personal opinion of the individual writers rather than the
    policy of CDCR.
            12. Many potentially responsive documents were developed through complex analysis o•-'
    projections, rules and regulations, other State's endeavors; recommendations from staff and the
    assessment of possible solutions and barriers. As such, these documents          are   pre-deeisional,
    deliberative, and should be shielded from discovery because disclosure of the documents may
    chill future discourse, sdf-evaluati.on and orifieal analysis. Furthermore, if individuals fear. that
    deliberative materials will be made public, it may deter discussion and development of beneficial
    theories and ideas,
             I declare under penalty of perjury the foregoing is true and correct.
             Executed on           /'Z) "c•__5"            ,2007, in Sacsamento, California.

                                                         KE" AN
                                             ,,•,-•,,SCOT[
                                                Chief Deputy Seoretm'y of Adult Operations
                                                California Department of Corrections. and Rehabilitatior•.


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    Decl. of Soott Kernan re Privileged D.o•uro•nts
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                    Attorneys for Defendants
        10
        I1                                     IN THE UNITED STATES DISTRICT COURT
        12                                FOR TIlE EASTERN          t•te'r•   t,-.•-


        13                              AND THE     NORTHERN DISTRICT OFCALIFORNIA
       14                     UNITED STATES DISTRICT COURT COMPOSED OF
                                                                           THREE JUDGES
       15                       PURSUANT TO SECTION 2284, TITLE 28 UNITED STATES
                                                                                 CODE
       16
       17           RALPH     COLEMAN, et al.,                                             2:90-cv-00520 LKK JFM P
       18                                                             Plaintiffs,          THREE JUDGE COURT
      19
   20              ARNOLD      SCHWARZENEGGER, et al.,
   21                                                              Defendants.
   22
                   MARCIANO PLATA, et al.,                                                No. C 01-1351 TEH
  23
  24                                                                 Plaintiffs,          THREE JUDGE COURT

  25              ARNOLD      SCHWARZENEGGER, et al.,                                     DECLARATION OF DOUG
                                                                                          MCKEEVER REGARDING
  26                                                                                      PRIVILEGED DOCUMENTS
                                                                   Defendants.
  27                    I, Doug McKeever, declare:
 28                     1. I am employed by the Division of Correctional Health
                                                                                            Care Services for

             Decl. ofDoug McKeever re Privileged Documents
Case 2:90-cv-00520-KJM-SCR                                        Document 2914-2       Filed 08/01/08       Page 62 of 64


                       the California Department of Corrections and Rehabilitation (CDCR). From January 2005
                                                                                                             to
                2      October 2006, I held the position of Project Director, and was responsible for the development
                3     and preparation of projects arising from the Coleman v. Schwarzenegger litigation. Since
            4         October 2006,              have held the position of Director of Mental Health Services, with direct
            5         oversight over the program and responsibility for policy development and implementation for the
            6         statewide mental health program of the Division of Correctional Health Care Services. In both
            7         positions, I led a multi-agency work group dedicated to creating and implementing short-term,
            8         interim, and long-range mental health bed plans.
            9                     2.      have personal knowledge of the facts stated in this declaration and if called
                                                                                                                          to testify
       10             upon those facts would do so competently.
       II                        3. In my capacity as Director of Mental Health Services, I am responsible for overseeing
       12            the management and ooeration of the mental health services deliveu¢
       13            prisons.          I am   familiar with CDCR's regulations, policies, practices, and procedures concerning
       14            mental health bed plans, treatment and housing options; mental health services staff recruitment
       15            and retention; and population projections for mentally ill inmates. In addition, I
                                                                                                        am familiar
   16                with, and an instrumental participant in, development of such policies and procedures.
   17                           4.       have reviewed Plaintiffs' Requests for Production of Documents propounded in the
   18                Three Judge Court proceeding involving Coleman v..Sehwarzenegger, CIV $90-0520 LKK JFM
   19                P, and Plata v. Sfhwarzenegger, C01-1351 TEH. I am familiar with the documents generated by
   20                this agency which may be responsive to Plaintiffs' requests. Certain items within those
  21                categories of documents are privileged.
  22                         5. Policy, planning and procedural documents for the mental health services delivery
  23                 system are drafted, revised, discussed, debated and redrafted before finalization. Once finalized,
  24                copies of many documents reflecting policies and procedures are routinely provided to Special
  25                Master Keating, his staffand Plaintiffs' counsel. Although final products will be produced,
  26                CDCR maintains as privileged drafts or other documents reflecting internal analysis, deliberation
  27                and discussion prior to adoption of a final product.
  28                        6. I participate in many committees which meet to develop ideas, evaluate options,

                    Decl. ofDoug McKeever         re   Privileged Documents
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                       analyze courses of action, review past performance, and provide feedback in the development of
                2     policies and procedures affecting all aspects of the mental health services delivery system
                3     including design, construction, programming, and clinical and custodial staffing. These
            4         functions are performed on a continuing basis. Information gathered and derived for
                                                                                                             purposes of
            5         policyplanning and analysis is considered confidential and is maintained in a confidential
            6         manner. Finally, many policies and procedures affecting prison mental health services
                                                                                                               are
            7         derived based upon budgetary and fiscal information for which the Governor and the
                                                                                                                                Legislature
            8         have final approval.
            9                     7.     am   also familiar with the process associated with the derivation of the budget and
       10             the development of draft budget change proposals for CDCR's internal
                                                                                            review and revision
       11             which are submitted to the Department of Finance and ultimately submitted
                                                                                                 to the Office of the
       !2
       13                     8.         have provided documents in the possession of CDCR to counsel for the Defendants
       14            in response to Plaintiffs' Requests for Production of Documents. These documents
                                                                                                         include draft
       15            bed plans, mental health population projections prepared by litigation
                                                                                  a         consultant, associated e-
       16            mails, documents developed to activate creative brainstorming, internal debate and analysis,
   17                official information which is not made available to the public, and communications
                                                                                                                             with
   18                CDCR's attorneys regarding proposed courses of action well.as pending and anticipated
                                                                          as
   19                litigation. Such documents include recommendations, proposals, analysis, legal
                                                                                                                         comments, and
   20                other documents which reflect the personal opinion of the individual writers
                                                                                                                     rather than the
  21                policy of CDCR.
  22                         9.        Many documents provided to counsel for Defendants are pre-decisional and bear
                                                                                                                                       on
  23                the formulation or exercise of CDCR's                   policy-oriented judgment. These materials were part of
  24                the deliberative policy-making process which led to                     final decision, or are leading to a future
                                                                                        a

  25                final decision, regarding CDCR's policies, procedures, regulations,
                                                                                                          or   amendments
  26                        10.Many potentially responsive documents were derived from a complex set of
  27                judgments, projections, the study and evaluation of mental health treatment options, creative
 -28                recommendations and the assessment of possible solutions and barriers. As such, these

                    Decl. ofDoug McKeever       re   Privileged DocumenLs
I•,"25/2•0Z               15•43            9166536376                     LTCS
   Case 2:90-cv-00520-KJM-SCR                                   Document 2914-2            Filed 08/01/08         Page 64 PAGE
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                     1    documents are pr¢-decisional, deliberative, and should be shielded from discover.! ber, aus¢
                  2       disclosure of the documents may chill future discourse, collaboration, self-evaluation and critical
                  3       analysis.        Furtherrnom, if individuals fear that deliberative materials will be made-public, i1: may
                  4      deter d iscussion and development of b•n¢ficiai theorbs and ideas.
                                     I declare under penalty of perjury the foregoing is true and correct.
                  6                  Executed on      ••i•            •'-•'/    ,2007, in Sacramento, California.
                  7

                                                                       DO•Ca.-MCK•EVF.,R
                                                                       D(re•or of Mental Health Services
                 9                                                    Ca]lf'•x[a.D_&•fm• ent of Corrections and •¢h•,bilitat ion
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